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           EXHIBIT A
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STATE OF MINNESOTA                                          DISTRICT COURT

COUNTY OF HENNEPIN                              FOURTH JUDICIAL DISTRICT


Stephen Venable,
                                                      Court File Number: TBD
                   Plaintiff,

VS.
                                                           The Honorable TBD
UnitedHealthcare Inc.,

                   Defendant.
                                                    Case Code/Type: Contract


                                 SUMMONS


THIS SUMMONS IS DIRECTED TO:

UnitedHealthcare, Inc.
via its Registered Agent:
CT Corporation System, Inc.
1010 Dale St N
St Paul, MN 55117-5603

1. YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The
Plaintiff's Complaint against you is attached to this Summons. Do not throw
these papers away. They are official papers that affect your rights. You must
respond to this lawsuit even though it may not yet be filed with the Court and
there may be no court file number on this summons.

2. YOU MUST REPLY WITHIN 21 DAYS TO PROTECT YOUR RIGHTS.
You must give or mail to the person who signed this summons a written
response called an Answer within 21 days of the date on which you received this
Summons. You must send a copy of your Answer to the person who signed this
summons located at:

Elizabeth I. Wrobel
Wrobel & Smith,PLLP
1599 Selby Ave. #105
Saint Paul, MN,55104
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3. YOU MUST RESPOND TO EACH CLAIM. The Answer is your written
response to the Plaintiff's Complaint. In your Answer you must state whether
you agree or disagree with each paragraph of the Complaint. If you believe the
Plaintiff should not be given everything asked for in the Complaint, you must
say so in your Answer.

4. YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN
RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS
SUMMONS. If you do not answer within 21 days, you will lose this case. You
will not get to tell your side of the story, and the Court may decide against you
and award the Plaintiff everything asked for in the Complaint. If you do not
want to contest the claims stated in the complaint, you do not need to respond.
A default judgment can then be entered against you for the relief requested in
the complaint.

5. LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you
do not have a lawyer, the Court Administrator may have information about
places where you can get legal assistance. Even if you cannot get legal help, you
must still provide a written Answer to protect your rights or you may lose the
case.

6. ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be
ordered to participate in an alternative dispute resolution process under Rule 114
of the Minnesota General Rules of Practice. You must still send your written
response to the Complaint even if you expect to use alternative means of
resolving this dispute.



Dated:      6/20/23
                                              ciA4U1
                                         Elizabeth I. Wrobel, #271755
                                         Wrobel & Smith,PLLP
                                         1599 Selby Ave., Suite 105
                                         St. Paul, MN 55104
                                         Phone: 651-925-6658
                                         Fax: 888-865-4347
                                         Email: elizabeth@wrobelsmithlaw.com
                                         ATTORNEYS FOR PLAINTIFFS




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STATE OF MINNESOTA                                          DISTRICT COURT

COUNTY OF HENNEPIN                                FOURTH JUDICIAL DISTRICT


Stephen Venable,
                                                       Court File Number: TBD
                      Plaintiff,

VS.
                                                           The Honorable TBD

UnitedHealthcare Inc.,

                      Defendant.                     Case Code/Type: Contract


                                   COMPLAINT


      NOW COMES the above-named Plaintiff, Stephen Venable, by attorneys

Wrobel & Smith, PLLP, and for the Complaint against Defendant states and

alleges as follows:

                                    PARTIES

      1.    Stephen Venable resides in the City of Minneapolis, County of

Hennepin and State of Minnesota. Mr. Venable has medical insurance coverage

through a United HealthCare Insurance Company Conversion Policy

Conversion Plan 3(hereinafter the "Plan").

      2.     Upon information and belief, UnitedHealthcare Inc. insures and

administers the Plan.




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      3.    Upon information and belief, Defendant UnitedHealthcare Inc.

(hereinafter "UHC") is a foreign company incorporated in Delaware with

corporate headquarters in Minnetonka, Minnesota.

                          FACTUAL ALLEGATIONS

                       Employment and Plan Coverage

      4.    Stephen Venable worked as chief in-house legal counsel for Jostens

Learning Corporation ("Jostens"), where he had employer medical insurance

benefits. In 1998, after leaving employment with Jostens and the going through

the requisite "COBRA" (Consolidated Omnibus Budget Reconciliation Act)

period, Mr. Venable converted his policy to an individual medical plan, known

as a "conversion policy." The Plan is entitled "Conversion Plan 3" and became

effective June 1998.

      5.    On May 19, 2009, Defendant sent Mr. Venable a copy of the most

recent version of the Plan. In its cover letter, Defendant indicated that "United

has initiated a national project to update our individual conversion policies and

schedule of benefits in every state." See attached Exhibit A. The letter further

stated that the Minnesota Department of Commerce approved the updated

conversion policy.

      6.     Among other covered medical services, Mr. Venable's Conversion

Plan 3 includes "Outpatient Prescription Drugs."(See page 13 of the Plan).




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      7.    On December 20, 2012, Defendant sent Mr. Venable a Certificate of

Coverage for individual conversion policy, Conversional Plan 3, along with a

Schedule of Benefits. The Plan continued to cover "outpatient prescription

drugs" (e.g. prescription medication). See attached Exhibit B.

      8.    On November 5, 2014, Defendant sent Mr. Venable correspondence

encouraging him to purchase another individual medical policy through the

Health Care Marketplace. However, the correspondence did specifically state

that "... your current conversion coverage under Policy number 555999 will not

be discontinued or terminated, unless you choose to end your current coverage."

      9.    Since the Plan's effective date, Mr. Venable has consistently paid his

premiums for his conversation policy, with no gap in medical insurance

coverage.   Furthermore, Mr. Venable has not elected to purchase another

individual medical plan through the Health Care Marketplace.

      10.   Pursuant to the terms of Mr. Venable's Plan, Defendant has been,

among other things, approving and paying his medical claims, as well as

reimbursing Mr. Venable 80% of the amount paid for his prescription

medications. Defendant reimburses Mr. Venable for prescription medication

after he submits a written claim with evidence of out-of-pocket expenses.

                          Defendant's Claims Handling

      11.    Defendant has reimbursed         Mr. Venable for his outpatient

prescription drugs for the last twenty-five years, since the Plan has been in effect.


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Per his usual practice, starting on September 19, 2022, Mr. Venable submitted

seven separate prescription medication claims for reimbursement to Defendant

at their Atlanta, Georgia location. The claims were mailed to the same address to

which Mr. Venable submitted claims in the past. Several of the recent claims

were sent priority mail with tracking information to ensure proof of delivery.

      12.   To date, Defendant has not only failed to reimburse Mr. Venable for

any of his prescription drug claims but also utterly failed to acknowledge receipt

of his claims despite confirmation of delivery. Mr. Venable's out-of-pocket

expenses for the prescription drug benefits total $3,361.10.

      13.   The Plan directs its members to contact "us" using the telephone

number for Customer Care listed on their ID card, with any problems. Mr.

Venable has made repeated telephone calls to UHC's Customer Care number on

the back of his insurance card.

      14.    During the telephone calls the Customer Care representative

verified the correct mailing address to which Mr. Venable mailed his claims,

however, the representatives are unable to verify receipt of claims or provide any

information about his policy. On several occasions, Mr. Venable has been

transferred to various representatives, disconnected or on hold for excessive

periods of time.

      15.    Moreover, when Mr. Venable recently attempted to schedule

physical therapy, at the recommendation of a foot and ankle surgeon with Twin


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 Cities Orthopedic (TCO), TCO had difficulty verifying Mr. Venable's benefits

 with UHC. Mr. Venable participated in physical therapy in the past and

 indisputably has such benefits under the terms his Plan.             Additionally,

 Defendant incorrectly informed TCO that Mr. Venable had COBRA medical

 coverage.

                          COUNT I - BREACH OF CONTRACT

       16.    Stephen Venable is currently insured through a United HealthCare

 Insurance Company Conversion Policy, Conversion Plan 3, from which medical

 and prescription claims are paid.

       17.    Mr. Venable's Plan has been in full force and effect since June 1998.

       18.    Plaintiff has submitted claims and demand for payment of

 outpatient prescription drug benefits from Defendant, in accordance with the

- policy coverage in effect.

       19.    Defendant has ignored and/or refused to pay benefits and

 otherwise meet its policy obligations to Mr. Venable.

       20.    Defendant has breached its policy and contractual obligations by

 failing and refusing to pay benefits to which Mr. Venable is entitled. There is no

 reasonable basis for Defendant's refusal to reimburse for medically necessary

 prescription medication.

       21.    As a result of Defendant's breach of contract, Mr. Venable has

 incurred approximately $3,361.10 in prescription expenses and is entitled to 80%


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of his costs. Further, Mr. Venable will continue to incur prescription medication

costs going forward.

      22.    Plaintiff is entitled to payment of the full benefits of the medical

coverage for which he has contracted, as well as all costs incurred and future

outpatient prescription drug benefits.

                                REQUEST FOR RELIEF

             WHEREFORE, the Plaintiff prays for judgment in his favor and

against the Defendant as follows:

      1.     For the full benefit of his prescription medication costs incurred,

approximately $3,361.10;

      2.     For enforcement of future Plan compliance related to incurred

outpatient prescription drug expenses or other medically necessary treatment;

      3.     All costs and expenses as allowed by Minnesota law;

      4.     For all taxable costs; and

      5.     For such other and further relief as the Court deems just and

equitable.

Dated:       6/20/23                         CkN.         A
                                          Elizabeth I. Wrobel,#271755
                                          Wrobel & Smith,PLLP
                                          1599 Selby Ave.,Suite 105
                                          St. Paul, MN 55104
                                          Phone: 651-925-6658
                                          Fax: 888-865-4347
                                          Email: elizabeth@wrobelsmithlaw.com
                                          ATTORNEYS FOR PLAINTIFFS


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                          ACKNOWLEDGMENT

The undersigned hereby acknowledges that costs, disbursements, and reasonable
attorney and witness fees may be awarded pursuant to Minn. Stat. 549.211,
subdivision 2, to the party against whom the allegations in this pleading are
asserted.
           6/20/23
Dated:
                                       Elizabeth I. Wrobel, #271755
                                       Wrobel & Smith,PLLP
                                       1599 Selby Ave.,Suite 105
                                       St. Paul, MN 55104
                                       Phone: 651-925-6658
                                       Fax: 888-865-4347
                                       Email: elizabeth@wrobelsmithlaw.com
                                       ATTORNEYS FOR PLAINTIFFS




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                                                             UnitedHealthcare'
                                                       A ifier-kmalth G:oupCcrgeny

                                                               Conversion Customer Service Unit
                                                               450 Columbus Boulevard I2NA
                                                               Hartford, CT 06103




May 19th,2009


Stephen Venable
4910 Russell Ave South
Minneapolis, MN 55410


RE:     United HealthCare Insurance Company
        Minnesota Conversion Policies


Dear Stephen:

Enclosed please find your updated United HealthCare Insurance Company ("United")
Conversion Policy and Schedule of Benefits.

United has initiated a national project to update our individual conversion policies and
schedule of benefits in every state.

We've recently received approval from the Minnesota Department of Commerce for the
updated Minnesota Individual Conversion Policy and schedule of benefits. Please note
that United hasn't changed the conversion benefits, we've simply updated the language to
reflect current Minnesota laws and regulations. Additionally, due to the national project,
we've incorporated standard, concise and more "user friendly" language.

Please contact UnitedHealthcare Conversion Unit Customer Service at 1-866-747-1019 if
you have any questions.


Thank you,



Individual Conversion Unit
ENC:




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                                      Qualified Plan #3
                         I ndemnity Conversion Policy
                 U nited HealthCare Insurance Company


Policy
                                                                                           to provide
This Policy is a legal document between United HealthCare Insurance Company and you
                                                                              limitations of the Policy. We
Benefits to Covered Persons, subject to the terms, conditions, exclusions and
issue the Policy based on the Subscriber's application and payment  of the required Premium.

The Policy includes:
•      The Schedule of Benefits.
•     The Subscriber's application.
•      Riders.
•      Amendments.

Changes to the Document
We may from time to time modify this Policy by attaching legal documents called Riders and/or
Amendments that may change certain provisions of the Policy. When that happens we will send you a
new Policy, Rider or Amendment pages.
No one can make any changes to this Policy unless those changes are in writing.

Other Information You Should Have
We have the right to change, interpret, modify, withdraw or add Benefits, or to terminate this Policy, as
permitted by law, without your approval.
On its effective date this Policy replaces and overrules any Policy that we may have previously issued to
you. This Policy will in turn be overruled by any Policy we issue to you in the future.
This Policy will take effect on the date that we specify in writing. Coverage under this Policy will begin at
12:01 a.m. and end at 12:00 midnight in the time zone of your location. This Policy will remain in effect as
long as the Premium is paid when due, subject to termination of this Policy.
We are delivering the Policy in the State of Minnesota. The Policy is governed by the laws of the State of
Minnesota.




POLCNV.I.08.MN                                      [1]


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           Right of Cancellation within First Ten Days
                 You may cancel this Policy by delivering or mailing a written notice to:
                 United HealthCare Insurance Company
                 Attention: Individual Conversion Unit
                 450 Columbus Blvd.
                 CT030-12NA
                 Hartford, CT 06103
                 This Policy must be returned before midnight the tenth day after the date you receive
                 this Policy. Notice given by mail and return of this Policy by mail are effective when
                 postmarked, properly addressed, and postage prepaid. We will return all premiums,
                 fees and charges if applicable, within ten days after receiving notice of cancellation
                 and the returned Policy. The Policy will then be considered void from the beginning
                 and you must then pay any claims incurred prior to cancellation.




                                                  [2]
POLCNV.I.08.MN
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                            Introduction to Your Policy
 We are pleased to provide you with this Policy. This Policy and the other Policy documents describe your
 Benefits, as well as your rights and responsibilities, under the Policy.

  How to Use this Document
 We encourage you to read your Policy and any attached Riders and/or Amendments carefully.
 We especially encourage you to review the Benefit limitations of this Policy by reading the attached
 Schedule of Benefits along with Section 1: Covered Health Services and Section 2: Exclusions and
 Limitations. You should also carefully read Section 7: General Legal Provisions to better understand how
 this Policy and your Benefits work. You should call us if you have questions about the limits of the
 coverage available to you.
 Many of the sections of the Policy are related to other sections of the document. You may not have all of
 the information you need by reading just one section. We also encourage you to keep your Policy and
 Schedule of Benefits and any attachments in a safe place for your future reference.
 If there is a conflict between this Policy and any summaries provided to you, this Policy will control.
 Please be aware that your Physician is not responsible for knowing or communicating your Benefits.

 Information about Defined Terms
 Because this Policy is part of a legal document, we want to give you information about the document that
 will help you understand it. Certain capitalized words have special meanings. We have defined these
 words in Section 8: Defined Terms. You can refer to Section 8: Defined Terms as you read this document
 to have a clearer understanding of your Policy.
 When we use the words "we,""us," and "our" in this document, we are referring to United HealthCare
 Insurance Company. When we use the words "you" and "your," we are referring to people who are
 Covered Persons, as that term is defined in Section 8: Defined Terms.

 Don't Hesitate to Contact Us
 Throughout the document you will find statements that encourage you to contact us for further
 information. Whenever you have a question or concern regarding your Benefits, please call us using the
 telephone number for Customer Care listed on your ID card. It will be our pleasure to assist you.




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                                   Your Responsibilities
Be Enrolled and Pay Required Contributions
Benefits are available to you only if you are enrolled for coverage under the Policy. Your enrollment
options, and the corresponding dates that coverage begins, are listed in Section 3: When Coverage
Begins and Premiums. To be enrolled with us and receive Benefits, both of the following apply:
a      Your enrollment must be in accordance with this Policy, including the eligibility requirements.
•      You must qualify as a Subscriber or his or her Dependent as those terms are defined in Section 8:
       Defined Terms.

Be Aware this Benefit Plan Does Not Pay for All Health Services
Your right to Benefits is limited to Covered Health Services. The extent of this Benefit plan's payments for
Covered Health Services and any obligation that you may have to pay for a portion of the cost of those
Covered Health Services is set forth in the Schedule of Benefits.

Decide What Services You Should Receive
Care decisions are between you and your Physicians. We do not make decisions about the kind of care
you should or should not receive.

Choose Your Physician
It is your responsibility to select the health care professionals who will deliver care to you. These
professionals and facilities are independent practitioners and entities that are solely responsible for the
care they deliver.

Pay Your Share
You must pay a Coinsurance for most Covered Health Services. These payments are due at the time of
service or when billed by the Physician, provider or facility. Coinsurance amounts are listed in the
Schedule of Benefits. You must also pay any amount that exceeds Eligible Expenses.

Pay the Cost of Excluded Services
You must pay the cost of all excluded services and items. Review Section 2: Exclusions and Limitations
to become familiar with this Benefit plan's exclusions.

Show Your ID Card
You should show your identification (ID) card every time you request health services. If you do not show
your ID card, the provider may fail to bill the correct entity for the services delivered, and any resulting
delay may mean that you will be unable to collect any Benefits otherwise owed to you.

File Claims with Complete and Accurate Information
When you receive Covered Health Services from a provider, you are responsible for requesting payment
from us. You must file the claim in a format that contains all of the information we require, as described in
Section 5: How to File a Claim.

Use Your Prior Health Care Coverage
If you have prior coverage that, as required by state law, extends benefits for a particular condition or a
disability, we will not pay Benefits for health services for that condition or disability until the prior coverage
ends. We will pay Benefits as of the day your coverage begins under this Benefit plan for all other


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  Covered Health Services that are not related to the condition or disability for which you have other
  coverage.




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                                   Our Responsibilities
Determine Benefits
We make administrative decisions regarding whether this Benefit plan will pay for any portion of the cost
of a health care service you intend to receive or have received. Our decisions are for payment purposes
only. We do not make decisions about the kind of care you should or should not receive. You and your
providers must make those treatment decisions.
We have the discretion to do the following:
•      Interpret Benefits and the other terms, limitations and exclusions set out in this Policy, the
       Schedule of Benefits, and any Riders and/or Amendments.
•      Make factual determinations relating to Benefits.
We may delegate this discretionary authority to other persons or entities that may provide administrative
services for this Benefit plan, such as claims processing. The identity of the service providers and the
nature of their services may be changed from time to time in our discretion. In order to receive Benefits,
you must cooperate with those service providers.

Pay for Our Portion of the Cost of Covered Health Services
We pay Benefits for Covered Health Services as described in Section 1: Covered Health Services and in
the Schedule of Benefits, unless the service is excluded in Section 2: Exclusions and Limitations. This
means we only pay our portion of the cost of Covered Health Services. It also means that not all of the
health care services you receive may be paid for (in full or in part) by this Benefit plan.

Pay for Covered Health Services
In accordance with any state prompt pay requirements, we will pay Benefits after we receive your request
for payment that includes all required information. See Section 5: How to File a Claim.

Review and Determine Benefits in Accordance with our
Reimbursement Policies
We develop our reimbursement policy guidelines, in our sole discretion, in accordance with one or more
of the following methodologies:
•     As indicated in the most recent edition of the Current Procedural Terminology(CPT), a publication
      of the American Medical Association, and/or the Centers for Medicare and Medicaid Services
     (CMS).
•     As reported by generally recognized professionals or publications.
•     As used for Medicare.
•     As determined by medical staff and outside medical consultants pursuant to other appropriate
      sources or determinations that we accept.
Following evaluation and validation of certain provider billings (e.g., error, abuse and fraud reviews), our
reimbursement policies are applied to provider billings. You may be billed for any amounts we do not pay,
including amounts that are denied because one of our reimbursement policies does not reimburse (in
whole or in part) for the service billed. You may obtain copies of our reimbursement policies for yourself or
to share with your Physician or provider by going to www.myuhc.com or by calling Customer Care at the
telephone number on your ID card.




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  Offer Health Education Services to You
  From time to time, we may provide you with access to information about additional services that are
  available to you, such as disease management programs, health education, and patient advocacy. It Is
  solely your decision whether to participate in the programs, but we recommend that you discuss them
  with your Physician.




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                                                 [7]


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                    Section 1: Covered Health Services
Benefits for Covered Health Services
Benefits are available only if all of the following are true:
•     Covered Health Services are received while this Policy is in effect.
•     Covered Health Services are received prior to the date that any of the individual termination
      conditions listed in Section 4: When Coverage Ends occurs.
•     The person who receives Covered Health Services is a Covered Person and meets all eligibility
      requirements specified in the Policy.
This section describes Covered Health Services for which Benefits are available. Please refer to the
attached Schedule of Benefits for details about
•     The amount you must pay for these Covered Health Services (including any Annual Deductible and
      Coinsurance).
•     Any limit that applies to these Covered Health Services (including visit, day and dollar limits on
      services and/or any Maximum Policy Benefit).
•     Any limit that applies to the amount you are required to pay in a year(Out-of-Pocket Maximum).
•     Any responsibility you have for notifying us or obtaining prior authorization.
Please note that in listing services or examples, when we say "this includes," it is not our intent to
limit the description to that specific list. When we do intend to limit a list ofservices or examples,
we state specifically that the list "is limited to."

1. Ambulance Services
Emergency ambulance transportation by a licensed ambulance service to the nearest Hospital where
Emergency Health Services can be performed.
Non-Emergency ambulance transportation by a licensed ambulance service (either ground or air
ambulance, as we determine appropriate) between facilities when the transport is any of the following:
•     To a Hospital that provides a higher level of care that was not available at the original Hospital.
•     To a more cost-effective acute care facility.
•     From an acute facility to a sub-acute setting.

2. Diabetes Services - Diabetes Self-Management and Training/Diabetic Eye
Examinations/Foot Care
Outpatient self-management training for the treatment of diabetes, education and medical nutrition
therapy services. Diabetes outpatient self-management training, education and medical nutrition therapy
services must be ordered by a Physician and provided by appropriately licensed or registered healthcare
professionals working in a program consistent with the national standards of diabetes self-management
education as established by the American Diabetes Association.
Benefits under this section also include medical eye examinations (dilated retinal examinations) and
preventive foot care for Covered Persons with diabetes.
Benefits also include Diabetes Services for Covered Person with gestational, type I or type II diabetes.




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3. Durable Medical Equipment
Durable Medical Equipment that meets each of the following criteria:
•      Ordered or provided by a Physician for outpatient use.
•      Used for medical purposes.
•     Not consumable or disposable except as needed for the effective use of covered Durable Medical
      Equipment
•      Not of use to a person In the absence of a disease or disability.
Benefits under this section include Durable Medical Equipment provided to you by a Physician.
If more than one piece of Durable Medical Equipment can meet your functional needs, Benefits are
available only for the equipment that meets the minimum specifications for your needs. If you rent or
purchase a piece of Durable Medical Equipment that exceeds this guideline, you will be responsible for
any cost difference between the piece you rent or purchase and the piece we have determined is the
most cost-effective.
Examples of Durable Medical Equipment include:
•     Equipment to assist mobility, such as a standard wheelchair.
•     A standard Hospital-type bed.
•     Oxygen and the rental of equipment to administer oxygen (including tubing, connectors and
      masks).
•     Delivery pumps for tube feedings (including tubing and connectors).
•     Braces, including necessary adjustments to shoes to accommodate braces. Braces that stabilize
      an injured body part and braces to treat curvature of the spine are considered Durable Medical
      Equipment and are a Covered Health Service. Braces that straighten or change the shape of a
      body part are orthotic devices, and are excluded from coverage. Dental braces are also excluded
      from coverage.
•     Mechanical equipment necessary for the treatment of chronic or acute respiratory failure (except
      that air-conditioners, humidifiers, dehumidifiers, air purifiers and filters, and personal comfort items
      are excluded from coverage).
•     Burn garments.
•     Insulin pumps and all related necessary supplies as described under Diabetes Services - Diabetic
      Self-Management Items.
Benefits under this section do not include any device, appliance, pump, machine, stimulator, or monitor
that is fully implanted into the body.
We will decide if the equipment should be purchased or rented.
Benefits are available for repairs and replacement, except that:
•     Benefits for repair and replacement do not apply to damage due to misuse, malicious breakage or
      gross neglect.
•     Benefits are not available to replace lost or stolen items.

4.Emergency Health Services - Outpatient
Services that are required to stabilize or initiate treatment in an Emergency. Emergency Health Services
must be received on an outpatient basis at a Hospital or Alternate Facility.




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Benefits under this section include the facility charge, supplies and all professional services required to
stabilize your condition and/or initiate treatment. This includes placement in an observation bed for the
purpose of monitoring your condition (rather than being admitted to a Hospital for an Inpatient Stay).

5.Home Health Care
Services received from a Home Health Agency that are both of the following:
•      Ordered by a Physician.
•      Provided in your home by a registered nurse, or provided by either a home health aide or licensed
       practical nurse and supervised by a registered nurse.
Benefits are available only when the Home Health Agency services are provided on a part-time,
Intermittent Care schedule and when skilled care is required.
Skilled care is skilled nursing, skilled teaching, and skilled rehabilitation services when all of the following
are true:
•     It must be delivered or supervised by licensed technical or professional medical personnel in order
      to obtain the specified medical outcome, and provide for the safety of the patient.
•      It is ordered by a Physician.

•     It is not delivered for the purpose of assisting with activities of daily living, including but not limited
      to dressing, feeding, bathing or transferring from a bed to a chair.
•      It requires clinical training in order to be delivered safely and effectively.
•      It is not Custodial Care.
We will determine if Benefits are available by reviewing both the skilled nature of the service and the need
for Physician-directed medical management. A service will not be determined to be "skilled" simply
because there is not an available caregiver.

6. Hospice Care
Hospice care that is recommended by a Physician. Hospice care is an integrated program that provides
comfort and support services for the terminally ill. Hospice care includes physical, psychological, social
and spiritual care for the terminally ill person and short-term grief counseling for immediate family
members while the Covered Person is receiving hospice care. Benefits are available when hospice care
is received from a licensed hospice agency.
Please contact us for more information regarding our guidelines for hospice care. You can contact us at
the telephone number on your ID card.

7. Hospital - Inpatient Stay
Services and supplies provided during an Inpatient Stay in a Hospital. Benefits are available for:
•     Supplies and non-Physician services received during the Inpatient Stay.
•     Room and board in a Semi-private Room (a room with two or more beds).
•     Physician services for anesthesiologists, Emergency room Physicians, consulting Physicians,
      pathologists and radiologists.(Benefits for other Physician services are described under Physician
      Fees for Surgical and Medical Services.)
•     Communicator or interpreter services performed by a private duty nurse or personal care assistant
      to a ventilator-dependent Covered Person during a transition period to assure adequate training of;
      the Hospital staff to communicate with the patient and to understand the unique comfort, safety,:
      and personal care needs of the patient.




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8. Infertility Services
Services for the treatment of infertility, except for invitro fertilization services, when provided by or under
the direction of a Physician, limited to the following procedures:
•      Diagnosis and diagnostic tests.
•      Medication
•      Surgery
To be eligible for Benefits, the Covered Person must meet all of the following:
•      Have failed to achieve a Pregnancy after a year of regular, unprotected intercourse if the woman is
       under age 35, or after six months, if the woman is over age 35.
•      Be under age 44, if female.
•      Have infertility that is not related to voluntary sterilization or failed reversal of voluntary sterilization.

9. Lab, X-Ray and Diagnostics - Outpatient
Services for Sickness and Injury-related diagnostic purposes, received on an outpatient basis at a
Hospital or Alternate Facility include, but are not limited to:
•      Lab and radiology/X-ray.
•      Mammography.
Benefits under this section include:
•      The facility charge and the charge for supplies and equipment.
•     Physician services for anesthesiologists, pathologists and radiologists. (Benefits for other Physician
      services are described under Physician Fees for Surgical and Medical Services.)
When these services are performed in a Physician's office, Benefits are described under Physician's
Office Services - Sickness and Injury.
Lab, X-ray and diagnostic services for preventive care are described under Preventive Care Services.

10. Lab, X-Ray and Major Diagnostics - CT,PET Scans, MRI, MFtA and Nuclear
Medicine - Outpatient
Services for CT scans, PET scans, MRI, MFtA, nuclear medicine, and major diagnostic services received
on an outpatient basis at a Hospital or Alternate Facility.
Benefits under this section include:
•      The facility charge and the charge for supplies and equipment.
•     Physician services for anesthesiologists, pathologists and radiologists. (Benefits for other Physician
      services are described under Physician Fees for Surgical and Medical Services.)
When these services are performed in a Physician's office, Benefits are described under Physician's
Office Services - Sickness and Injury.

11. Obesity Surgery
Surgical treatment of obesity when provided by or under the direction of a Physician when the Covered
Person has a Body Mass Index (BMI)of greater than 40.

12. Oral Surgery
Oral surgery services received in a Physician's or dentist's office or an Alternate Facility. Benefits are
limited to oral surgery for:


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•      Partially or completely unerupted impacted teeth.
•      A tooth root without the extraction of the entire tooth (this does not include a root canal).
•      The gums and tissues of the mouth when not performed in connection with the extraction or repair
       of teeth.

13. Ostomy Supplies
Benefits for ostomy supplies are limited to the following:
•      Pouches,face plates and belts.
•      Irrigation sleeves, bags and catheters.
•      Skin barriers.
Benefits are not available for deodorants, filters, lubricants, tape, appliance cleaners, adhesive, adhesive
remover, or other items not listed above.

14. Outpatient Prescription Drugs
Drugs and medicine which can be legally obtained only with a Physician's prescription including:
•      Antipsychotic drugs prescribed to treat emotional disturbances or mental Illness.
•      Off-label drugs that are prescribed for treatments other than those stated in the labeling approved
       by the FDA.

15. Physician Fees for Surgical and Medical Services
Physician fees for surgical procedures and other medical care received on an outpatient or inpatient basis
in a Hospital, Skilled Nursing Facility, Inpatient Rehabilitation Facility or Alternate Facility, or for Physician
house calls.
When these services are performed in a Physician's office, Benefits are described under Physician's
Office Services - Sickness and Injury.

16. Physician's Office Services - Sickness and Injury
Services provided in a Physician's office for the diagnosis and treatment of a Sickness or Injury. Benefits
are provided under this section regardless of whether the Physician's office is free-standing, located in a
clinic or located in a Hospital.
Covered Health Services include medical education services that are provided in a Physician's office by
appropriately licensed or registered healthcare professionals when both of the following are true:
•     Education is required for a disease in which patient self-management is an important component of
      treatment.
•     There exists a knowledge deficit regarding the disease which requires the intervention of a trained
      health professional.
Covered Health Services for Preventive Care provided in a Physician's office are described under
Preventive Care Services.
Benefits under this section include lab, radiology/X-ray or other diagnostic services performed in the
Physician's office and professional sign language interpreter services.

17. Pregnancy - Maternity Services
Benefits for Pregnancy include all maternity-related medical services for the mother for prenatal care,
postnatal care, delivery, and any related complications.



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For purposes of this benefit "prenatal care services" means the comprehensive package of medical and
psychosocial support provided throughout the pregnancy, including risk assessment, serial surveillance,
prenatal education, and use of specialized skills and technology, when needed, as defined by Standards
for Obstetric-Gynecologic Services issued by the American College of Obstetricians and Gynecologists.
Both before and during a Pregnancy, Benefits include the services of a genetic counselor when provided
or referred by a Physician. These Benefits are available to all Covered Persons in the immediate family.
Covered Health Services include related tests and treatment.
We also have special prenatal programs to help during Pregnancy. They are completely voluntary and
there is no extra cost for participating in the program. To sign up, you should notify us during the first
trimester, but no later than one month prior to the anticipated childbirth. It is important that you notify us
regarding your Pregnancy. Your notification will open the opportunity to become enrolled in prenatal
programs designed to achieve the best outcomes for you and your baby.
We will pay Benefits for an Inpatient Stay of at least:
•     48 hours for the mother and newborn child following a normal vaginal delivery.
•     96 hours for the mother and newborn child following a cesarean section delivery.
If the mother agrees, the attending provider may discharge the mother and/or the newborn child earlier
than these minimum time frames.
If discharge occurs earlier than the specified time periods, benefits will be provided for post-delivery care
for the mother and her newborn. Post-delivery care consists of a minimum of one home visit by a
registered nurse. Services provided by the registered nurse include, but are not limited to, the following:
•     Parent education
      Assistance and training in breast and bottle feeding.
•     Conducting any necessary and appropriate clinical tests.
The home visit must be conducted within four days following discharge of the mother and her child.

18. Preventive Care Services
Services for preventive medical care provided on an outpatient basis at a Physician's office, an Alternate
Facility or a Hospital. Examples of preventive medical care are:
Physician office services:
•     Routine physical examinations.
•     Well baby and well child care.
•     Immunizations
•     Hearing screening.
•     Child health supervision services. For purposes of this benefit, "child health supervision services"
      means pediatric preventive services, appropriate immunizations, development assessments, and
      laboratory services appropriate to the age of a child from birth to age 6 and appropriate
      immunizations from age 6 to 18, as defined by Standards of Child Health Care issued by the
      American Academy of Pediatrics. Benefits include at least:
      •      5 visits from birth to 12 months.
•            3 visits from 12 months to 24 months.
      •      1 visit per year from 24 months to 72 months.


Lab, X-ray or other preventive tests:


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•      Screening mammography.
•      Screening colonoscopy or sigmoidoscopy.
•      Cervical cancer screening including pap smears.
•      Prostate cancer screening including a prostate-specific antigen blood test and a digital rectal
       examination for:
      •      Men age 40 or older who are symptomatic or in a high-risk category.
      •      All men age 50 or older.
•      Bone mineral density tests.
•      Ovarian cancer surveillance tests for women who are at risk for ovarian cancer. For purposes of
       this benefit, the following definitions apply:
      •      "At risk for ovarian cancer" means:
             •      Having a family history with any of the following:
                    •      One or more first or second degree relatives with ovarian cancer.
                    •      Clusters of women relatives with breast cancer.
                    •      Nonpolyposis colorectal cancer.
             •      Testing positive for BRCA1 or BRCA2 mutations.
      •      ""Surveillance tests for ovarian cancer" means annual screening using any of the following:
             •      CA-125 serum tumor marker testing.
             •      Pelvic examination.
             •      Other proven ovarian cancer screening tests currently being evaluated by the federal
                    Food and Drug Administration or by the National Cancer Institute.

19. Prosthetic Devices
External prosthetic devices that replace a limb or a body part, limited to:
•     Artificial arms, legs, feet and hands.
•     Artificial face, eyes, ears and noses.
•     Speech aid prosthetics and tracheo-esophageal voice prosthetics.
•     Breast prosthesis as required by the Women's Health and Cancer Rights Act of 1998. Benefits
      include mastectomy bras and lymphedema stockings for the arm.
Benefits under this section are provided only for external prosthetic devices and do not include any device
that is fully implanted into the body other than breast prostheses.
If more than one prosthetic device can meet your functional needs, Benefits are available only for the
prosthetic device that meets the minimum specifications for your needs. If you purchase a prosthetic
device that exceeds these minimum specifications, we will pay only the amount that we would have paid
for the prosthetic that meets the minimum specifications, and you will be responsible for paying any
difference in cost.
The prosthetic device must be ordered or provided by, or under the direction of a Physician.
Benefits are available for repairs and replacement, except that:
•     There are no Benefits for repairs due to misuse, malicious damage or gross neglect.



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•      There are no Benefits for replacement due to misuse, malicious damage, gross neglect or for lost
       or stolen prosthetic devices.

20. Reconstructive Procedures
Reconstructive procedures when the primary purpose of the procedure is either to treat a medical
condition or to improve or restore physiologic function. Reconstructive procedures include surgery or
other procedures which are associated with an Injury, Sickness or Congenital Anomaly or functional
defect. The primary result of the procedure is not a changed or improved physical appearance. The
attending Physician shall determine if a Congenital Anomaly has resulted in a functional defect.
Cosmetic Procedures are excluded from coverage. Procedures that correct an anatomical Congenital
Anomaly without improving or restoring physiologic function are considered Cosmetic Procedures. The
fact that a Covered Person may suffer psychological consequences or socially avoidant behavior as a
result of an Injury, Sickness or Congenital Anomaly does not classify surgery (or other procedures done
to relieve such consequences or behavior) as a reconstructive procedure.
Please note that Benefits for reconstructive procedures include breast reconstruction following a
mastectomy, and reconstruction of the non-affected breast to achieve symmetry. Other services required
by the Women's Health and Cancer Rights Act of 1998, including breast prostheses and treatment of
complications, are provided in the same manner and at the same level as those for any other Covered
Health Service. You can contact us at the telephone number on your ID card for more information about
Benefits for mastectomy related services.

21. Rehabilitation Services - Outpatient Therapy and Chiropractic Treatment
Short-term outpatient rehabilitation services, limited to:
•      Physical therapy.
•     Occupational therapy.
•     Chiropractic Treatment.
•     Speech therapy.
•     Pulmonary rehabilitation therapy.
•     Cardiac rehabilitation therapy.
•     Post-cochlear implant aural therapy.
Rehabilitation services must be performed by a Physician or by a licensed therapy provider. Benefits
under this section include rehabilitation services provided in a Physician's office or on an outpatient basis
at a Hospital or Alternate Facility.
Please note that we will pay Benefits for speech therapy for the treatment of disorders of speech,
language, voice, communication and auditory processing only when the disorder results from Injury,
stroke, cancer, Congenital Anomaly, or autism spectrum disorders.

22. Scopic Procedures - Outpatient Diagnostic and Therapeutic
Diagnostic and therapeutic scopic procedures and related services received on an outpatient basis at a
Hospital or Alternate Facility.
Diagnostic scopic procedures are those for visualization, biopsy and polyp removal. Examples of
diagnostic scopic procedures include colonoscopy, sigmoidoscopy, and endoscopy.
Please note that Benefits under this section do not include surgical scopic procedures, which are for the
purpose of performing surgery. Benefits for surgical scopic procedures are described under Surgery -
Outpatient. Examples of surgical scopic procedures include arthroscopy, laparoscopy, bronchoscopy,
hysteroscopy.
Benefits under this section include:

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•      The facility charge and the charge for supplies and equipment.
•      Physician services for anesthesiologists, pathologists and radiologists.(Benefits for other Physician
       services are described under Physician Fees for Surgical and Medical Services.)
When these services are performed for preventive screening purposes, Benefits are described under
Preventive Care Services.

23. Skilled Nursing Facility/Inpatient Rehabilitation Facility Services
Services and supplies provided during an Inpatient Stay in a Skilled Nursing Facility or Inpatient
Rehabilitation Facility. Benefits are available for:
•     Supplies and non-Physician services received during the Inpatient Stay.
•      Room and board in a Semi-private Room (a room with two or more beds).
•      Physician services for anesthesiologists, consulting Physicians, pathologists and radiologists.
      (Benefits for other Physician services are described under Physician Fees for Surgical and Medical
      Services.)
Please note that Benefits are available only if both of the following are true:
•      If the initial confinement in a Skilled Nursing Facility or Inpatient Rehabilitation Facility was or will
       be a cost effective alternative to an Inpatient Stay in a Hospital.
•     You will receive skilled care services that are not primarily Custodial Care.
Skilled care is skilled nursing, skilled teaching, and skilled rehabilitation services when all of the following
are true:
•     It must be delivered or supervised by licensed technical or professional medical personnel in order
      to obtain the specified medical outcome, and provide for the safety of the patient.
•     It is ordered by a Physician.
•     It is not delivered for the purpose of assisting with activities of daily living, including but not limited
      to dressing, feeding, bathing or transferring from a bed to a chair.
•     It requires clinical training in order to be delivered safely and effectively.
We will determine if Benefits are available by reviewing both the skilled nature of the service and the need
for Physician-directed medical management. A service will not be determined to be "skilled" simply
because there is not an available caregiver.
Benefits can be denied or shortened for Covered Persons who are not progressing in goal-directed
rehabilitation services or if discharge rehabilitation goals have previously been met.

24. Surgery - Outpatient
Surgery and related services received on an outpatient basis at a Hospital or Alternate Facility.
Benefits under this section include certain scopic procedures. Examples of surgical scopic procedures
include arthroscopy, laparoscopy, bronchoscopy, hysteroscopy.
Benefits under this section include:
•     The facility charge and the charge for supplies and equipment.
•     Physician services for anesthesiologists, pathologists and radiologists.(Benefits for other Physician
      services are described under Physician Fees for Surgical and Medical Services.)




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25. Therapeutic Treatments - Outpatient
Therapeutic treatments received on an outpatient basis at a Hospital or Alternate Facility, including but
not limited to dialysis (both hemodialysis and peritoneal dialysis), intravenous chemotherapy or other
intravenous infusion therapy and radiation oncology.
Covered Health Services include medical education services that are provided on an outpatient basis at a
Hospital or Alternate Facility by appropriately licensed or registered healthcare professionals when both
of the following are true:
•      Education is required for a disease in which patient self-management is an important component of
       treatment.
•      There exists a knowledge deficit regarding the disease which requires the intervention of a trained
       health professional.
Benefits under this section include:
•     The facility charge and the charge for related supplies and equipment.
•     Physician services for anesthesiologists, pathologists and radiologists. Benefits for other Physician
      services are described under Physician Fees for Surgical and Medical Services.

26. Transplantation Services
Organ and tissue transplants when ordered by a Physician. Benefits are available for transplants when
the transplant meets the definition of a Covered Health Service, and is not an Experimental or
Investigational or Unproven Service.
Examples of transplants for which Benefits are available include bone marrow, heart, heart/lung, lung,
kidney, kidney/pancreas, liver, liver/small bowel, pancreas, small bowel and cornea. As technology
changes, the above referenced benefits will be subject to modifications in the form of additions or
deletions, when appropriate.
Donor costs that are directly related to organ removal are Covered Health Services for which Benefits are
payable through the organ recipient's coverage under the Policy.
We have specific guidelines regarding Benefits for transplant services. Contact us at the telephone
number on your ID card for information about these guidelines.

27. Urgent Care Center Services
Covered Health Services received at an Urgent Care Center. When services to treat urgent health care
needs are provided in a Physician's office, Benefits are available as described under Physician's Office
Services - Sickness and Injury.

Additional Benefits Required By Minnesota Law

28. Cleft Lip and Cleft Palate Services
Inpatient and outpatient services received to treat or manage birth defects known as cleft lip and cleft
palate. Benefits include both medical and dental treatment of cleft lip and cleft palate up to the limiting
age for Dependent child coverage. Examples of benefits include, but are not limited to orthodontic and
oral surgery. Benefits for individuals age 19 up to the limiting age for Dependent child coverage are
limited to expenses from treatment that was scheduled or initiated prior to the Dependent turning age 19.
If orthodontic services are eligible for coverage under a dental insurance plan, the dental plan shall be
primary and this Policy shall be secondary. Payment for dental or orthodontic treatment not related to cleft
lip or cleft palate is not covered under this Benefit.




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29. Dental Anesthesia
Anesthesia and associated Hospital or Alternate Facility charges when the dentist and Physician
determine that the services are necessary for the safe and effective treatment of a dental condition for a
Covered Person who:
•      Is a child under age 5.
•      Is disabled.
•      Has a medical condition and requires hospitalization or general anesthesia for dental treatment.
Benefits are also provided for general anesthesia and treatment provided by a dentist for a medical
condition that is normally covered by this Policy, regardless of whether the services are provided in a
Hospital, Alternate Facility, or dental office. This Policy does not provide Benefits for dental services.
Excluded dental services are described under Dental in Section 2: Exclusions and Limitations.

30. Diabetes Services - Diabetic Self-Management Items
Insulin pumps and supplies for the management and treatment of diabetes, based upon the medical
needs of the Covered Person including, but not limited to:
•      Insulin pumps are subject to all the conditions of coverage stated under Durable Medical
       Equipment.
•      Blood glucose monitors.
•      Insulin syringes with needles.
•      Blood glucose and urine test strips.
•      Ketone test strips and tablets.
•      Lancets and lancet devices.

31. Hearing Aids for Children
Hearing aids for children age 18 or younger which are required for the correction of a hearing loss(a
reduction in the ability to perceive sound which may range from slight to complete deafness) that is not
correctable by other covered procedures. Hearing aids are electronic amplifying devices designed to
bring sound more effectively to the ear. A hearing aid consists of a microphone, amplifier and receiver.
Benefits are available for a hearing aid that is purchased as a result of a written recommendation by a
Physician. Benefits are provided for the hearing aid and for charges for associated fitting and testing

32. Lyme Disease Treatment
Treatment of Lyme Disease.

33. Mental Health Services - Inpatient and Intermediate
Mental Health Services received on an inpatient or Intermediate Care basis in a Hospital or an Alternate
Facility.
The Mental Health/Substance Abuse Designee, may help you determine the appropriate setting for
treatment. If an Inpatient Stay is required, it is covered on a Semi-private Room basis.
Benefits also include Mental Health Services ordered by a court of competent jurisdiction under a court
order that is issued on the basis of a behavioral care evaluation performed by a licensed psychiatrist or
doctoral level licensed psychologist. We must receive a copy of the court order and the behavioral care
evaluation. Benefits include the:
•     Evaluation is performed by a provider.



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•      Care included in the court-ordered individual treatment plan if the care is covered by this Policy and
       ordered to be provided by a Provider as required by rule or law.
Mental Health Services may be provided by or under the direction of the Mental Health/Substance Abuse
Designee. You may contact the Mental Health/Substance Abuse Designee for assistance regarding
Benefits for Inpatient/Intermediate Mental Health Services.

34. Mental Health Services - Outpatient
Mental Health Services received on an outpatient basis in a provider's office, Hospital, licensed
Community Mental Health Center, or licensed Mental Health Clinic, including:
•      Mental health evaluations and assessment, including court-ordered behavioral care evaluations.
       Benefits include treatment required as a result of such behavioral care evaluations.
•      Diagnosis.
•      Treatment planning.
•      Referral services.
•      Medication management.
•      Short-term individual, family and group therapeutic services (including intensive outpatient
       therapy).
•      Crisis intervention.
You may contact the Mental Health/Substance Abuse Designee for assistance regarding your Benefits for
outpatient Mental Health Services.
Benefits also include Mental Health Services ordered by a court of competent jurisdiction under a court
order that is issued on the basis of a behavioral care evaluation performed by a licensed psychiatrist or
doctoral level licensed psychologist. We must receive a copy of the court order and the behavioral care
evaluation. Benefits include the:
•     Evaluation if performed by a provider.
•     Care included in the court-ordered individual treatment plan if the care is covered by this Policy and
      ordered to be provided by a provider as required by rule or law.

35. Phenylketonuria Treatment
Special dietary treatment for Phenylketonuria when recommended by a Physician. Special dietary
treatment includes enteral formulas and low protein modified food products.
Special dietary treatment does not include non-enteral formulas or food products that are naturally low in
protein.

36. Port-Wine Stain Treatment
Elimination of or maximum feasible treatment of port-wine stains.

37. Scalp Hair Prosthesis
Scalp hair prosthesis worn for hair loss suffered as a result of alopecia areata.

38. Substance Abuse Services - Inpatient and Outpatient
Substance Abuse Services received in on an Inpatient basis in a Hospital or Alternate Facility, or on an
Outpatient basis in a providers office or Alternate Facility.




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The Mental Health/Substance Abuse Designee may help you determine the appropriate setting for the
treatment. If an Inpatient Stay is required, it is covered on a Semi-private Room basis. You may contact
the Mental Health/Substance Abuse Designee for assistance with your Benefits.
Benefits are provided for Substance Abuse treatment while a Covered Person is committed to the
custody of the commissioner of corrections following a conviction for a first-degree driving while impaired
offense if both of the following are true:
•     A court of competent jurisdiction makes a preliminary determination based on a chemical use
      assessment that treatment may be appropriate and includes this determination as part of the
      sentencing order.
•     The department of corrections makes a determination that treatment is appropriate based on a
      chemical assessment conducted while the individual is in the custody of the department.

39. Temporomandibular and Craniomandibular Joint Services
Services for the evaluation and treatment of temporomandibular joint syndrome(TMJ)and
craniomandibular joint disorder(CMJ)and associated muscles if the treatment is administered or
prescribed by a Physician or dentist.
Diagnosis: Examination, radiographs and applicable imaging studies, and consultation.
Non-surgical treatment including clinical examinations, oral appliances (orthotic splints), arthrocentesis,
and trigger-point injections.
Benefits are provided for surgical treatment if the following criteria are met:
•     There is clearly demonstrated radiographic evidence of significant joint abnormality.
•     Non-surgical treatment has failed to adequately resolve the symptoms.
•     Pain or dysfunction is moderate or severe.
Benefits for surgical services include arthrocentesis, arthroscopy, arthroplasty, arthrotomy, open or closed
reduction of dislocations, and TMJ or CMJ implants.




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                 Section 2: Exclusions and Limitations
How We Use Headings in this Section
To help you find specific exclusions more easily, we use headings (for example A. Alternative Treatments
below). The headings group services, treatments, items, or supplies that fall into a similar category. Actual
exclusions appear underneath headings. A heading does not create, define, modify, limit or expand an
exclusion. All exclusions in this section apply to you.

We do not Pay Benefits for Exclusions
We will not pay Benefits for any of the services, treatments, items or supplies described in this section,
even if either of the following is true:
•      It is recommended or prescribed by a Physician.
•      It is the only available treatment for your condition.
The services, treatments, items or supplies listed in this section are not Covered Health Services, except
as may be specifically provided for in Section 1: Covered Health Services or through a Rider to the Policy.

Benefit Limitations
When Benefits are limited within any of the Covered Health Service categories described in Section 1:
Covered Health Services, those limits are stated in the corresponding Covered Health Service category in
the Schedule of Benefits. Limits may also apply to some Covered Health Services that fall under more
than one Covered Health Service category. When this occurs, those limits are also stated in the Schedule
of Benefits under the heading Benefit Limits. Please review all limits carefully, as we will not pay Benefits
for any of the services, treatments, items or supplies that exceed these Benefit limits.
Please note that in listing services or examples, when we say "this includes," it is not our intent to
limit the description to that specific list. When we do intend to limit a list ofservices or examples,
we state specifically that the list "is limited to."

A. Alternative Treatments
1.   Acupressure and acupuncture.
2.    Aromatherapy.
3.    Hypnotism.
4.    Massage therapy.
5.    Rolfing.
6.    Art therapy, music therapy, dance therapy, horseback therapy and other forms of alternative
      treatment as defined by the National Center for Complementary and Alternative Medicine
     (NCCAM)of the National Institutes of Health. This exclusion does not apply to Chiropractic
      Treatment and osteopathic care for which Benefits are provided as described in Section 1: Covered
      Health Services.

B. Dental
1.    Dental care (which includes dental X-rays, supplies and appliances and all associated expenses,
      except that Benefits for hospitalizations and anesthesia are provided as described under Dental
      Anesthesia in Section 1: Covered Health Services.)
      This exclusion does not apply to dental care (oral examination, X-rays, extractions and non-surgical
      elimination of oral infection) required for the direct treatment of a medical condition for which
      Benefits are available under the Policy, limited to:


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     •      Transplant preparation.
     •      Prior to the initiation of immunosuppressive drugs.
     •      The direct treatment of cancer, cleft lip or cleft palate except when Benefits for cleft lip and
            cleft palate treatment are provided as described under Cleft Lip and Cleft Palate Services in
            Section 1: Covered Health Services.
     Dental care that is required to treat the effects of a medical condition, but that is not necessary to
     directly treat the medical condition, is excluded. Examples include treatment of dental caries
     resulting from dry mouth after radiation treatment or as a result of medication.
     Endodontics, periodontal surgery and restorative treatment are excluded.
2.   Preventive care, diagnosis, treatment of or related to the teeth, jawbones or gums. Examples
     include:
     •      Extraction, restoration and replacement of teeth.
     •      Medical or surgical treatments of dental conditions.
     •      Services to improve dental clinical outcomes.
     This exclusion does not apply to dental services for which Benefits are provided as described
     under Oral Surgery in Section 1: Covered Health Services.
3.   Dental implants, bone grafts, and other implant-related procedures.
4.   Dental braces (orthodontics).
5.   Treatment of congenitally missing, malpositioned, or supernumerary teeth, even if part of a
     Congenital Anomaly. This exclusion does not apply to newborn children.

C. Devices, Appliances and Prosthetics
1.   Devices used specifically as safety items or to affect performance in sports-related activities.
2.   Orthotic appliances that straighten or re-shape a body part. Examples include foot orthotics, cranial
     banding and some types of braces, including over-the-counter orthotic braces.
3.   The following items are excluded, even if prescribed by a Physician:
     •     Blood pressure cuff/monitor.
     •     Enuresis alarm.
     •     Home coagulation testing equipment.
     •     Non-wearable external defibrillator.
     •     Trusses.
     •     Ultrasonic nebulizers.
     •     Ventricular assist devices.
4.   Devices and computers to assist in communication and speech except for speech aid prosthetics
     and tracheo-esophageal voice prosthetics.
5.   Oral appliances for snoring.
6.   Repairs to prosthetic devices due to misuse, malicious damage or gross neglect.
7.   Replacement of prosthetic devices due to misuse, malicious damage or gross neglect or to replace
     lost or stolen items.




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D. Experimental or Investigational or Unproven Services
      Experimental or Investigational and Unproven Services and all services related to Experimental or
      Investigational and Unproven Services are excluded. The fact that an Experimental or
      Investigational or Unproven Service, treatment, device or pharmacological regimen is the only
      available treatment for a particular condition will not result in Benefits if the procedure is considered
      to be Experimental or Investigational or Unproven in the treatment of that particular condition. Refer
      to the definitions of Experimental or Investigational Service(s) and Unproven Services under
      Section 8: Defined Terms.

E. Foot Care
1.    Routine foot care. Examples include the cutting or removal of corns and calluses. This exclusion
      does not apply to preventive foot care for Covered Persons with diabetes for which Benefits are
      provided as described under Diabetes Services - Diabetes Self-Management and Training/Diabetic
      Eye Examination/Foot Care in Section 1: Covered Health Services.
2.    Nail trimming, cutting, or debriding.
3.    Hygienic and preventive maintenance foot care. Examples include:
      •     Cleaning and soaking the feet.
     •      Applying skin creams in order to maintain skin tone.
      This exclusion does not apply to preventive foot care for Covered Persons who are at risk of
      neurological or vascular disease arising from diseases such as diabetes.
4.    Treatment of flat feet.
5.    Treatment of subluxation of the foot.
6.    Shoes.
7.    Shoe orthotics.
8.    Shoe inserts.
9.    Arch supports.

F. Medical Supplies
1.    Prescribed or non-prescribed medical supplies and disposable supplies. Examples include:
             Elastic stockings.
             Ace bandages.
             Gauze and dressings.
      •      Urinary catheters.
This exclusion does not apply to:
            Disposable supplies necessary for the effective use of Durable Medical Equipment for which
            Benefits are provided as described under Durable Medical Equipment in Section 1: Covered
            Health Services.
      •     Diabetic supplies for which Benefits are provided as described under Diabetes Services -
            Diabetic Self-Management Items in Section 1: Covered Health Services.
      •     Ostomy supplies for which Benefits are provided as described under Ostomy Supplies in
            Section 1: Covered Health Services.
2.    Tubings and masks except when used with Durable Medical Equipment as described under
      Durable Medical Equipment in Section 1: Covered Health Services.



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G. Mental Health
1.   Services performed in connection with conditions not classified in the current edition of the
     Diagnostic and Statistical Manual of the American Psychiatric Association.
2.   Mental Health Services that extend beyond the period necessary for short-term evaluation,
     diagnosis, treatment or crisis intervention.
3.   Mental Health Services as treatment for insomnia and other sleep disorders, neurological disorders
     and other disorders with a known physical basis.
4.   Treatment for conduct and impulse control disorders, personality disorders, paraphilias and other
     Mental Illnesses that will not substantially improve beyond the current level of functioning, or that
     are not subject to favorable modification or management according to prevailing national standards
     of clinical practice, as reasonably determined by the Mental Health/Substance Abuse Designee.
5.   Treatment provided in connection with or to comply with involuntary commitments, police
     detentions and other similar arrangements. However, Benefits are provided for court-ordered
     Mental Health Services as described under Mental Health Services - Inpatient and Intermediate
     and Mental Health Services - Outpatient in Section 1: Covered Health Services.
6.   Residential treatment services for treatment of Mental Illness.
7.   Services or supplies for the diagnosis or treatment of Mental Illness including any of the following:
           Not consistent with prevailing national standards of clinical practice for the treatment of such
           conditions.
           Not consistent with prevailing professional research demonstrating that the services or
           supplies will have a measurable and beneficial health outcome.
     •     Typically do not result in outcomes demonstrably better than other available treatment
           alternatives that are less intensive or more cost effective.
     ▪     Not consistent with our level of care guidelines or best practices as modified from time to
           time.
     The Mental Health/Substance Abuse Designee may consult with professional clinical consultants,
     peer review committees or other appropriate sources for recommendations and information
     regarding whether a service or supply meets any of these criteria.

H. Nutrition
1.   Individual and group nutritional counseling. This exclusion does not apply to medical nutritional
     education services that are provided by appropriately licensed or registered health care
     professionals when both of the following are true:
     •     Nutritional education is required for a disease in which patient self-management is an
           important component of treatment.
     •     There exists a knowledge deficit regarding the disease which requires the intervention of a
           trained health professional.
2    Enteral feedings, even if the sole source of nutrition. This exclusion does not apply to
     Phenylketonuria for which Benefits are provided as described under Phenylketonuria Treatment in
     Section 1: Covered Health Services.
3.   Infant formula and donor breast milk. This exclusion does not apply to Phenylketonuria for which
     Benefits are provided as described under Phenylketonuria Treatment in Section 1: Covered Health
     Services.
4.   Nutritional or cosmetic therapy using high dose or mega quantities of vitamins, minerals or
     elements, and other nutrition-based therapy. Examples include supplements, electrolytes, and
     foods of any kind (including high protein foods and low carbohydrate foods).


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I. Personal Care, Comfort or Convenience
1.    Television.
2.    Telephone.
3.    Beauty/barber service.
4.    Guest service.
5.    Supplies, equipment and similar incidental services and supplies for personal comfort. Examples
      include:
      •     Air conditioners, air purifiers and filters, dehumidifiers.
      •     Batteries and battery chargers.
      •     Breast pumps.
      •     Car seats.
      •     Chairs, bath chairs, feeding chairs, toddler chairs, chair lifts, recliners.
      •     Electric scooters.
      •     Exercise equipment.
      •     Home modifications such as elevators, handrails and ramps.
      a     Hot tubs.
      •     Humidifiers.
     •      Jacuzzis.
     •      Mattresses.
     •      Medical alert systems.
      •     Motorized beds.
     •      Music devices.
     •      Personal computers.
     •      Pillows.
      •     Power-operated vehicles.
     •      Radios.
      •     Saunas.
     •      Stair lifts and stair glides.
     •      Strollers.
     •      Safety equipment.
     •      Speech generating devices.
     •      Treadmills.
     •      Vehicle modifications such as van lifts.
      •     Video players.
      •     Whirlpools.

J. Physical Appearance
1.    Cosmetic Procedures. See the definition in Section 8: Defined Terms. Examples include:


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       •      Pharmacological regimens, nutritional procedures or treatments.
       •     Scar or tattoo removal or revision procedures(such as salabrasion, chemosurgery and other
             such skin abrasion procedures).
       •      Skin abrasion procedures performed as a treatment for acne.
       •      Liposuction or removal of fat deposits considered undesirable, including fat accumulation
              under the male breast and nipple.
       •     Treatment for skin wrinkles or any treatment to improve the appearance of the skin.
       •     Treatment for spider veins.
       •      Hair removal or replacement by any means.
2.     Replacement of an existing breast implant if the earlier breast implant was performed as a
       Cosmetic Procedure. Note: Replacement of an existing breast implant is considered reconstructive
       if the initial breast implant followed mastectomy. See Reconstructive Procedures in Section 1:
       Covered Health Services.
3.     Treatment of benign gynecomastia (abnormal breast enlargement in males).
4.     Breast reduction except as coverage is required by the Women's Health and Cancer Right's Act of
       1998 for which Benefits are described under Reconstructive Procedures in Section 1: Covered
       Health Services.
5.     Physical conditioning programs such as athletic training, body-building, exercise, fitness, flexibility,
       and diversion or general motivation.
6.     Weight loss programs whether or not they are under medical supervision. Weight loss programs for
       medical reasons are also excluded.

K.Procedures and Treatments
1.     Excision or elimination of hanging skin on any part of the body. Examples include plastic surgery
       procedures called abdominoplasty or abdominal panniculectomy, and brachioplasty.
2.     Medical and surgical treatment of excessive sweating (hyperhidrosis).
3.     Medical and surgical treatment for snoring, except when provided as a part of treatment for
       documented obstructive sleep apnea.
4.     Speech therapy except as required for treatment of a speech impediment or speech dysfunction
       that results from Injury, stroke, cancer, Congenital Anomaly, or autism spectrum disorders.
5.     Psychosurgery.
6.     Sex transformation operations.
7.     Physiological modalities and procedures that result in similar or redundant therapeutic effects when
       performed on the same body region during the same visit or office encounter.
8.     Biofeedback.
9.     The following services for the diagnosis and treatment of TMJ: surface electromyography; Doppler
       analysis; vibration analysis; computerized mandibular scan or jaw tracking; craniosacral therapy;
       orthodontics; occlusal adjustment; dental restorations.
10.    Upper and lower jawbone surgery except as required for direct treatment of acute traumatic Injury,
       dislocation, tumors or cancer. Orthognathic surgery and jaw alignment, except as a treatment of
       obstructive sleep apnea, temporomandibular and craniomandibular joint disorder. Benefits for
       temporomandibular and craniomandibular joint services are described under Temporomandibular
       and Craniomandibular Joint Services in Section 1: Covered Health Services.
1 1.   Non-surgical treatment of obesity.


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12.    Stand-alone multi-disciplinary smoking cessation programs.

L. Providers
1.     Services performed by a provider who is a family member by birth or marriage. Examples include a
       spouse, brother, sister, parent or child. This includes any service the provider may perform on
       himself or herself.
2.     Services performed by a provider with your same legal residence.
3.     Services provided at a free-standing or Hospital-based diagnostic facility without an order written
       by a Physician or other provider. Services which are self-directed to a free-standing or Hospital-
       based diagnostic facility. Services ordered by a Physician or other provider who is an employee or
       representative of a free-standing or Hospital-based diagnostic facility, when that Physician or other
       provider:
              Has not been actively involved in your medical care prior to ordering the service, or
              Is not actively involved in your medical care after the service is received.
       This exclusion does not apply to mammography.
4.     Foreign language and sign language interpreters.

M. Reproduction
1.     The following infertility treatment-related services:
      •      Cryo-preservation and other forms of preservation of reproductive materials.
      •      Long-term storage of reproductive materials such as sperm, eggs, embryos, ovarian tissue,
             and testicular tissue.
      •      Donor services.
2.    Surrogate parenting, donor eggs, donor sperm and host uterus.
3.    Storage and retrieval of all reproductive materials. Examples include eggs, sperm, testicular tissue
      and ovarian tissue.
4.    The reversal of voluntary sterilization.
5.     Maternity related medical services for Enrolled Dependent children.

N. Services Provided under another Plan
1.    Health services for which other coverage is required by federal, state or local law to be purchased
      or provided through other arrangements. Examples include coverage required by workers'
      compensation, no-fault auto insurance, or similar legislation.
      If coverage under workers' compensation or similar legislation is optional for you because you
      could elect it, or could have it elected for you, Benefits will not be paid for any Injury, Sickness or
      Mental Illness that would have been covered under workers' compensation or similar legislation
      had that coverage been elected.
2.    Health services for treatment of military service-related disabilities, when you are legally entitled to
      other coverage and facilities are reasonably available to you.
3.    Health services while on active military duty.

0.Substance Abuse
1.    Services performed in connection with conditions not classified in the current edition of the
      Diagnostic and Statistical Manual of the American Psychiatric Association.



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2.   Substance Abuse Services that extend beyond the period necessary for short-term evaluation,
     diagnosis, treatment or crisis intervention.
3.   Services utilizing methadone treatment as maintenance, L.A.A.M.(1-Alpha-Acetyl-Methadol),
     Cyclazocine, or their equivalents.
4.   Treatment provided in connection with or to comply with involuntary commitments, police
     detentions and other similar arrangements, unless authorized by the Mental Health/Substance
     Abuse Designee. However, Benefits are provided for Substance Abuse treatment while a Covered
     Person is committed to the custody of the commissioner of corrections as described under
     Substance Abuse Services - Hospital, Residential and Outpatient in Section 1: Covered Health
     Services.
5.   Services or supplies for the diagnosis or treatment of alcoholism or substance abuse disorders
     that, in the reasonable judgment of the Mental Health/Substance Abuse Designee, are any of the
     following:
     •      Not consistent with prevailing national standards of clinical practice for the treatment of such
            conditions.
     •      Not consistent with prevailing professional research demonstrating that the services or
            supplies will have a measurable and beneficial health outcome.
     •      Typically do not result in outcomes demonstrably better than other available treatment
            alternatives that are less intensive or more cost effective.
     •      Not consistent with the Mental Health/Substance Abuse Designee's level of care guidelines
            or best practices as modified from time to time.
     The Mental Health/Substance Abuse Designee may consult with professional clinical consultants,
     peer review committees or other appropriate sources for recommendations and information
     regarding whether a service or supply meets any of these criteria.

P.Transplants
1.   Health services for organ and tissue transplants, except those described under Transplantation
     Services in Section 1: Covered Health Services.
2.   Health services connected with the removal of an organ or tissue from you for purposes of a
     transplant to another person.(Donor costs that are directly related to organ removal are payable for
     a transplant through the organ recipient's Benefits under the Policy.)
3.   Health services for transplants involving permanent mechanical or animal organs.

Q. Travel
1    Health services provided in a foreign country, unless required as Emergency Health Services.
2.   Travel or transportation expenses, even though prescribed by a Physician. Some travel expenses
     related to Covered Health Services received from a Designated Facility or Designated Physician
     may be reimbursed at our discretion.

R.Types of Care
1.   Multi-disciplinary pain management programs provided on an inpatient basis.
2.   Custodial Care.
3.   Domiciliary care.
4.   Private duty nursing. This means nursing care that is provided to a patient on a one-to-one basis by
     licensed nurses in an inpatient or home setting when any of the following are true:
     •      No skilled services are identified.


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      •     Skilled nursing resources are available in the facility.
      •     The skilled care can be provided by a Home Health Agency on a per visit basis for a specific
            purpose.
5.    Respite care.
6.    Rest cures.
7.    Services of personal care attendants.
8.    Work hardening (individualized treatment programs designed to return a person to work or to
      prepare a person for specific work).

S. Vision and Hearing
1.    Purchase cost and fitting charge for eye glasses and contact lenses.
2.   Routine vision examinations, including refractive examinations to determine the need for vision
     correction.
3.   Implantable lenses used only to correct a refractive error(such as Intacs comeal implants).
4.   Purchase cost and associated fitting and testing charges for hearing aids, Bone Anchor Hearing
     Aids(BAHA)and all other hearing assistive devices, except for hearing aids for children as
     described under Hearing Aids for Children in Section 1: Covered Health Services.
5.   Surgery that is intended to allow you to see better without glasses or other vision correction.
     Examples include radial keratotomy, laser, and other refractive eye surgery.

T. All Other Exclusions
1.   Health services and supplies that do not meet the definition of a Covered Health Service - see the
     definition in Section 8: Defined Terms.
2.   Physical, psychiatric or psychological exams, testing, vaccinations, immunizations or treatments
     that are otherwise covered under the Policy when:
     •      Required solely for purposes of career, school, sports or camp, travel, employment,
            insurance, marriage or adoption.
     •      Related to judicial or administrative proceedings or orders.
     •     Conducted for purposes of medical research.
     •      Required to obtain or maintain a license of any type.
3.   Health services received as a result of war or any act of war, whether declared or undeclared or
     caused during service in the armed forces of any country.
4.   Health services received after the date your coverage under the Policy ends. This applies to all
     health services, even if the health service is required to treat a medical condition that arose before
     the date your coverage under the Policy ended.
5.   Health services for which you have no responsibility to pay, or for which a charge would not
     ordinarily be made in the absence of coverage under the Policy.
6.   Charges in excess of Eligible Expenses or in excess of any specified limitation.
7.   Long term (more than 30 days) storage. Examples include cryopreservation of tissue, blood and
     blood products.
8.   Autopsy, except when requested by us and paid at our expense.




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     Section 3: When Coverage Begins and Premiums
How to Enroll
Eligible Persons must complete an enrollment form. We will give the necessary forms to you. The Eligible
Person must then submit the completed forms to us, along with the required Premium. We will not provide
Benefits for health services that you receive before your effective date of coverage.

If You Are Hospitalized When Your Coverage Begins
If you are an inpatient in a Hospital, Skilled Nursing Facility or Inpatient Rehabilitation Facility on the day
your coverage begins, we will pay Benefits for Covered Health Services that you receive on or after your
first day of coverage related to that Inpatient Stay as long as you receive Covered Health Services in
accordance with the terms of this Policy. These Benefits are subject to any prior carrier's obligations
under state law or contract.
You should notify us of your hospitalization within 48 hours of the day your coverage begins, or as soon
as is reasonably possible.

Who is Eligible for Coverage
We determine who is eligible to enroll under the Policy and who qualifies as a Dependent.

Eligible Person
Eligible Person usually refers to a person who was a subscriber or enrolled dependent under a group
policy issued by United HealthCare Insurance Company and who no longer is eligible for coverage under
that group policy. When an Eligible Person actually enrolls, we refer to that person as a Subscriber. For a
complete definition of Eligible Person and Subscriber, see Section 8: Defined Terms.
Eligible Persons must reside within the United States.

Dependent
Dependent generally refers to the Subscriber's spouse and children who were enrolled dependents under
a group policy issued by United HealthCare Insurance Company and who no longer is eligible for
coverage under that group policy. A Dependent also includes a newborn child, a child placed for adoption
and an adopted child when that event occurs after the effective date of this Policy. When a Dependent
actually enrolls, we refer to that person as an Enrolled Dependent. For a complete definition of
Dependent and Enrolled Dependent, see Section 8: Defined Terms.
Dependents of an Eligible Person may not enroll unless the Eligible Person is also covered under the
Policy.

When to Enroll and When Coverage Begins
Except as described below, Eligible Persons may not enroll themselves or their Dependents.

New Eligible Persons and Dependents
Coverage for Eligible Persons and any Dependents who are no longer eligible under the group policy
issued by United HealthCare Insurance Company from which they converted is effective on the date they
become ineligible for group coverage. Coverage for Eligible Persons and Dependents whose continuation
rights are expiring under a group policy issued by United HealthCare Insurance Company from which
they converted begins on the day following expiration of the continuation period.

Adding New Dependents
Subscribers may enroll Dependents who join their family because of any of the following events:


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•      Birth.
•      Legal adoption.
•      Placement for adoption.
•     Court or administrative order
Coverage for the Dependent begins on the date of the event if we receive the completed enrollment form
and any required Premium within 31 days of the event that makes the new Dependent eligible, except for
newborn and adopted children.
Newborn children will be covered from the moment of birth even if the Subscriber has not enrolled the
child for coverage. Coverage for adopted children will begin on the date that the child is placed for
adoption even if the Subscriber has not enrolled the child for coverage. However, if any Premium is
required in order for a newborn or adopted child to be covered, we shall be entitled to all Premiums that
would have been collected had we been made aware of the new Dependent. We may withhold Benefits
until the past due premium has been paid or reduce Benefits by the amount of past due Premiums that
apply to each new Dependent.

Premiums
All Premiums are payable on a monthly basis, by the Subscriber to us at our offices. The first Premium is
due and payable on the effective date of this Policy. Subsequent Premiums are due and payable no later
than the first day of the month thereafter that this Policy is in effect.
Premiums shall not be pro-rated based upon the Covered Person's effective date of coverage. A full
months' Premium shall be charged for the entire month in which the Covered Person's coverage becomes
effective.

Grace Period
A grace period of 30 days shall be granted for the payment of any Premium, during which time coverage
under this Policy shall continue in force. If payment is not received within this 30 day grace period,
coverage may be canceled after the 30th day and the Subscriber shall be held liable for the cost of
services received during the grace period. In no event shall the grace period extend beyond the date this
Policy terminates.

Adjustments to Premiums
We reserve the right to change the schedule of Premiums at any time. We shall give written notice of any
change in Premium to the Subscriber at least 31 days prior to the effective date of the change.




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                       Section 4: When Coverage Ends
General Information about When Coverage Ends
We may discontinue this Benefit plan and/or all similar benefit plans at any time for the reasons explained
in this Policy, as permitted by law. Your policy will not be cancelled or non-renewed except as set forth
below.
Your entitlement to Benefits automatically ends on the date that coverage ends, even if you are
hospitalized or are otherwise receiving medical treatment on that date.
When your coverage ends, we will still pay claims for Covered Health Services that you received before
the date on which your coverage ended. However, once your coverage ends, we will not pay claims for
any health services received after that date(even if the medical condition that is being treated occurred
before the date your coverage ended).
Unless otherwise stated, an Enrolled Dependent's coverage ends on the date the Subscribers coverage
ends.

Events Ending Your Coverage
Coverage ends on the earliest of the dates specified below:
•     You Are No Longer Eligible
      Your coverage ends on the last day of the calendar month in which you are no longer eligible to be
      an Enrolled Dependent. Please refer to Section 8: Defined Terms for complete definitions of the
      terms "Dependent" and "Enrolled Dependent."
•     We Receive Notice to End Coverage
      Your coverage ends on the last day of the calendar month in which we receive written notice from
      you instructing us to end your coverage, or the date requested in the notice, if later. The Subscriber
      is responsible for providing written notice to us to end your coverage.
•     Attainment of the Maximum Policy Benefit
      Your coverage ends on the date of attainment of the Maximum Policy Benefit as described in the
      Schedule of Benefits.

Other Events Ending Your Coverage
When any of the following happen, we will provide written notice to the Subscriber that coverage has
ended on the date we identify in the notice:
•     Failure to Pay
      You fail to pay the required Premium.
•     Fraud or intentional Misrepresentation
      Fraud or intentional misrepresentation (the Subscriber knowingly gave us false material
      information). Examples include false information relating to another person's eligibility or status as
      a Dependent.
      During the first two years the Policy is in effect, we have the right to demand that you pay back all
      Benefits we paid to you, or paid in your name, during the time you were incorrectly covered under
      the Policy. After the first two years, we can only demand that you pay back these Benefits if the
      written application contained a fraudulent misstatement.




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Reinstatement
When coverage under this Policy terminates for any reason, we will not reinstate coverage. You must
make application to us for coverage under another Policy.




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                         Section 5: How to File a Claim
Filing a Claim for Benefits
When you receive Covered Health Services, you are responsible for requesting payment from us. You
must file the claim in a format that contains all the information we require, as described below.
You should submit a request for payment of Benefits within 90 days after the date of service. If you don't
provide this information to us within one year of the date of service, Benefits for that health service will be
denied or reduced, in our discretion. This time limit does not apply if you are legally incapacitated. If your
claim relates to an Inpatient Stay, the date of service is the date your Inpatient Stay ends.

Required Information
When you request payment of Benefits from us, you must provide us with all of the following information:
•     The Subscriber's name and address.
•     The patient's name and age.
•     The number stated on your ID card.
•     The name and address of the provider of the service(s).
•     The name and address of any ordering Physician.
•     A diagnosis from the Physician.
•     An itemized bill from your provider that includes the Current Procedural Terminology(CPT)codes
      or a description of each charge.
•     The date the Injury or Sickness began.
•     A statement indicating either that you are, or you are not, enrolled for coverage under any other
      health insurance plan or program. If you are enrolled for other coverage you must include the name
      of the other carrier(s).

Payment of Benefits
You may not assign your Benefits under the Policy to a provider without our consent. When an
assignment is not obtained, we will send the reimbursement directly to you (the Subscriber) for you to
reimburse them upon receipt of their bill. We may, however, in our discretion, pay a provider directly for
services rendered to you. In the case of any such assignment of Benefits or payment to a provider, we
reserve the right to offset Benefits to be paid to the provider by any amounts that the provider owes us.
When you assign your Benefits under the Policy to a provider with our consent, and the provider submits
a claim for payment, you and the provider represent and warrant the following:
•     The Covered Health Services were actually provided.
•     The Covered Health Services were medically appropriate.




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        Section 6: Questions, Complaints and Appeals
To resolve a question, complaint, or appeal, just follow these steps:

What to Do if You Have a Question
Contact Customer Care at the telephone number shown on your ID card. Customer Care representatives
are available to take your call during regular business hours, Monday through Friday.

What to Do if You Have a Complaint
Contact Customer Care at the telephone number shown on your ID card. Customer Care representatives
are available to take your call during regular business hours, Monday through Friday.
If you would rather send your complaint to us in writing, the Customer Care representative can provide
you with the appropriate address.
If the Customer Care representative cannot resolve the issue to your satisfaction over the phone, he/she
can help you prepare and submit a written complaint.You can request a complaint form. It will include:
•     The telephone numbers for the Office of Health Care Consumer Assistance, Advocacy and
      Information and our Customer Services Department or persons equipped to advise you on
      complaint resolution.
•     The address to which the form must be sent.
•     A copy of our internal complaint procedure and applicable time limits as listed in this section.
•     The toll-free telephone number of the Commissioner of Commerce and notification that you have
      the right to submit the complaint to the Commissioner of Commerce at any time.
Upon receipt of a written complaint, we will notify you within 10 days that the complaint was received,
unless the complaint is resolved to your satisfaction within 10 days.
We will provide written notification of our decision regarding your written complaint within 30 days of
receiving it. If we are unable to make a decision within 30 days due to circumstances outside our control,
we will notify you that it may take up to 14 additional days to notify you of our decision. We will include the
reason for the extension.
If the decision regarding a complaint is partially or wholly adverse to you, the notification of the adverse
decision will inform you of your right to appeal the decision, our internal appeal process, and the process
for initiating an appeal. The notification will also inform you of your right to submit the complaint to the
Commissioner of Commerce for investigation and the toll-free telephone number for the commissioner.
Contact Information:
Minnesota Department of Commerce
85 - 7th Place East
Suite 500
St. Paul, MN 55101-2198
Phone:(800)657-3602              (651) 296-2488

How to Appeal a Complaint Decision
Post-service Claims
Post-service claims are those claims that are filed for payment of Benefits after medical care has been
received.



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Pre-service Requests for Benefits
Pre-service requests for Benefits are those requests that require notification or benefit confirmation prior
to receiving medical care. If we adjust Eligible Expenses for identified Covered Health Services based on
defined clinical protocols and standard cost-effectiveness analysis, you may appeal that decision
pursuant to this process.

How to Request an Appeal
If you disagree with either a pre-service request for Benefits determination or post-service claim
determination, you can contact us in writing to formally request an appeal.
Your request for an appeal should include:
•      The patient's name and the identification number from the ID card.
•      The date(s) of medical service(s).
•      The provider's name.
•      The reason you believe the claim should be paid.
•      Any documentation or other written information to support your request for claim payment.
The appeal process permits the receipt of testimony, correspondence, explanations, or other information
from you, staff persons, administrators, providers, or other persons as deemed necessary by the person
or persons investigation or presiding over the appeal.
Your first appeal request must be submitted to us within 180 days after you receive the denial of a pre-
service request for Benefits or the claim denial.

Appeal Process
A qualified individual who was not involved in the decision being appealed will be appointed to decide the
appeal. If your appeal is related to clinical matters, the review will be done in consultation with a health
care professional with appropriate expertise in the field, who was not involved in the prior determination.
We may consult with, or seek the participation of, medical experts as part of the appeal resolution
process. You consent to this referral and the sharing of pertinent medical claim information. Upon request
and free of charge, you have the right to reasonable access to and copies of all documents, records, and
other information relevant to your claim for Benefits.

Appeals Determinations
Pre-service Requests for Benefits and Post-service Claim Appeals
For procedures associated with urgent requests for Benefits, see Urgent Appeals That Require
Immediate Action below.
You will be provided written or electronic notification of the decision on your appeal as follows:
•     For appeals of pre-service requests for Benefits as identified above, the first level appeal will be
      conducted and you will be notified of the decision within 15 days from receipt of a request for
      appeal of a denied request for Benefits. If you are not satisfied with the first level appeal decision,
      you have the right to request a second level appeal. Your second level appeal request must be
      submitted to us within 60 days from receipt of the first level appeal decision. The second level
      appeal will be conducted and you will be notified of the decision within 15 days from receipt of a
      request for review of the first level appeal decision.
•     For appeals of post-service claims as identified above, the first level appeal will be conducted and
      you will be notified of the decision within 30 days from receipt of a request for appeal of a denied
      claim. If you are not satisfied with the first level appeal decision, you have the right to request a
      second level appeal. Your second level appeal request must be submitted to us within 60 days


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      from receipt of the first level appeal decision. The second level appeal will be conducted and you
      will be notified of the decision within 30 days from receipt of a request for review of the first level
      appeal decision.
•     If you appeal by hearing, the appeal will be conducted and you will be notified of the decision and
      all key findings within 45 days from our receipt of your written notice of appeal.
Please note that our decision is based only on whether or not Benefits are available under the Policy for
the proposed treatment or procedure. We don't determine whether the pending health service is
necessary or appropriate. That decision is between you and your Physician. If your appeal results in an
adverse determination, the adverse determination will include notification of your right to external review.

Urgent Appeals that Require Immediate Action
Your appeal may require immediate action if a delay in treatment could significantly increase the risk to
your health, or the ability to regain maximum function, or cause severe pain. In these urgent situations:
•     The appeal does not need to be submitted in writing. You or your Physician should call us as soon
      as possible.
•     We will provide you with a written or electronic determination within 72 hours following receipt of
      your request for review of the determination, taking into account the seriousness of your condition.
•     If we need more information from your Physician to make a decision, we will notify you of the
      decision by the end of the next business day following receipt of the required information.
The appeal process for urgent situations does not apply to prescheduled treatments, therapies or
surgeries.

Voluntary External Review Program
After you exhaust the appeal process, and you have received an adverse determination, you may submit
a written request for an external review of the adverse determination to the commissioner of health. The
written request must be accompanied by a filing fee of $25.00. The fee may be waived by the
commissioner in cases of financial hardship.
The external review program is not available if our coverage determinations are based on Benefit
exclusions or defined Benefit limits.
Contact us at the telephone number shown on your ID card for more information on the voluntary external
review program.

Important Telephone Numbers
The toll-free telephone number of the Managed Care System Section is [800-657-3916]. You can also call
[651- 201-5100].Contact us at the telephone number shown on your ID card for more information on the
 voluntary external review program




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                   Section 7: General Legal Provisions
Your Relationship with Us
In order to make choices about your health care coverage and treatment, we believe that it is important
for you to understand how we interact with your benefit plan and how it may affect you. We administer the
benefit plan in which you are enrolled. We do not provide medical services or make treatment decisions.
This means:
•      We do not decide what care you need or will receive. You and your Physician make those
       decisions.
•     We communicate to you decisions about whether the benefit plan will cover or pay for the health
      care that you may receive. The plan pays for Covered Health Services, which are more fully
      described in this Policy.
•     The plan may not pay for all treatments you or your Physician may believe are necessary. If the
      plan does not pay, you will be responsible for the cost.
We may use individually identifiable information about you to identify for you (and you alone) procedures,
products or services that you may find valuable. We will use individually identifiable information about you
as permitted or required by law, including in our operations and in our research. We will use de-identified
data for commercial purposes including research.
Please refer to our Notice of Privacy Practices for details.

Your Relationship with Providers
The relationship between you and any provider is that of provider and patient.
•     You are responsible for choosing your own provider.
•     You are responsible for paying, directly to your provider, any amount identified as a member
      responsibility including Coinsurance, any Annual Deductible and any amount that exceeds Eligible
      Expenses.
•     You are responsible for paying, directly to your provider, the cost of any non-Covered Health
      Service.
•     You must decide if any provider treating you is right for you. This includes providers you choose
      and providers to whom you have been referred.
•     You must decide with your provider what care you should receive.
•     Your provider is solely responsible for the quality of the services provided to you.

Statements by Subscribers
All statements made by a Subscriber shall, in the absence of fraud, be deemed representations and not
warranties. Except for fraudulent statements, made by the subscriber in the application for this policy, we
will not use any statement made by a Subscriber:
•     To void the Policy after it has been in force for a period of two years from the effective date of
      coverage.
•     To deny any claim for Covered Health Services provided after that two-year period.




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Incentives to Providers
We pay certain providers certain through various types of contractual arrangements, some of which may
include financial incentives to promote the delivery of health care in a cost efficient and effective manner.
These financial incentives are not intended to affect your access to health care.
Examples of financial incentives for certain providers are:
•      Bonuses for performance based on factors that may include quality, member satisfaction, and/or
       cost-effectiveness.
•      Capitation - a group of providers receives a monthly payment from us for each Covered Person
       who selects a provider within the group to perform or coordinate certain health services. The
       providers receive this monthly payment regardless of whether the cost of providing or arranging to
       provide the Covered Person's health care is less than or more than the payment.
We use various payment methods to pay specific providers. From time to time, the payment method may
change. If you have questions about whether your provider contracts with us and if that contract includes
any financial incentives, we encourage you to discuss those questions with your provider. You may also
contact us at the telephone number on your ID card. We can advise whether your provider is paid by any
financial incentive, including those listed above; however, the specific terms of the contract, including
rates of payment, are confidential and cannot be disclosed.

Incentives to You
Sometimes we may offer coupons or other incentives to encourage you to participate in various wellness
programs or certain disease management programs. The decision about whether or not to participate is
yours alone but we recommend that you discuss participating in such programs with your Physician.
These incentives are not Benefits and do not alter or affect your Benefits. Contact us if you have any
questions.

Rebates and Other Payments
We may receive rebates for certain drugs that are administered to you in your home or in a Physician's
office, or at a Hospital or Alternate Facility. This includes rebates for those drugs that are administered to
you before you meet any applicable Annual Deductible. We do not pass these rebates on to you, nor are
they applied to any Annual Deductible or taken into account in determining your Coinsurance.

Interpretation of Benefits
We have the sole and exclusive discretion to do all of the following:
•     Interpret Benefits under this Policy.
•     Interpret the other terms, conditions, limitations and exclusions set out in this Policy, including the
      Schedule of Benefits, and any Riders and/or Amendments.
•     Make factual determinations related to this Policy and its Benefits.
We may delegate this discretionary authority to other persons or entities that provide services in regard to
the administration of this Policy.
In certain circumstances, for purposes of overall cost savings or efficiency, we may, in our discretion, offer
Benefits for services that would otherwise not be Covered Health Services. The fact that we do so in any
particular case shall not in any way be deemed to require us to do so in other similar cases.

Administrative Services
We may, in our sole discretion, arrange for various persons or entities to provide administrative services
in regard to this Policy, such as claims processing. The identity of the service providers and the nature of
the services they provide may be changed from time to time in our sole discretion. We are not required to


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 give you prior notice of any such change, nor are we required to obtain your approval.
                                                                                        You must
 cooperate with those persons or entities in the performance of their responsibilities.

 A mendments to this Policy
 To the extent permitted by law we reserve the right, in our sole discretion and
                                                                                 without your approval, to
 change, interpret, modify, withdraw or add Benefits or terminate this Policy.
 Any provision of this Policy which, on its effective date, is in conflict with the requirements of state or
 federal statutes or regulations (of the jurisdiction in which this Policy is delivered) is hereby amended
                                                                                                             to
 conform to the minimum requirements of such statutes and regulations.
 No other change may be made to this Policy unless it is made by an Amendment or Rider which has
 been signed by one of our officers. All of the following conditions apply:
•      Amendments to the Policy are effective 31 days after we send written notice to the Subscriber.
•      Riders are effective on the date we specify.
•      No agent has the authority to change this Policy or to waive any of its provisions.
•      No one has authority to make any oral changes or amendments to this Policy.

Information and Records
We.may use your individually identifiable health information to administer this Policy and pay claims, to
identify procedures, products, or services that you may find valuable, and as otherwise permitted or
required by law. We may request additional information from you to decide your claim for Benefits. We will
keep this information confidential. We may also use your de-identified data for commercial purposes,
including research, as permitted by law. More detail about how we may use or disclose your information is
found in our Notice ofPrivacy Practices.
By accepting Benefits under this Policy, you authorize and direct any person or institution that has
provided services to you to furnish us with all information or copies of records relating to the services
provided to you. We have the right to request this information at any reasonable time. This applies to all
Covered Persons, including Enrolled Dependents whether or not they have signed the Subscriber's
enrollment form. We agree that such information and records will be considered confidential.
We have the right to release any and all records concerning health care services which are necessary to
implement and administer the terms of this Policy, for appropriate medical review or quality assessment,
or as we are required to do by law or regulation. During and after the term of this Policy, we and our
related entities may use and transfer the information gathered under this Policy in a de-identified format
for commercial purposes, including research and analytic purposes. Please refer to our Notice of Privacy
Practices.
For complete listings of your medical records or billing statements we recommend that you contact your
health care provider. Providers may charge you reasonable fees to cover their costs for providing records
or completing requested forms.
If you request medical forms or records from us, we also may charge you reasonable fees to cover costs
for completing the forms or providing the records.
In some cases, as permitted by law, we will designate other persons or entities to request records or
information from or related to you, and to release those records as necessary. Our designees have the
same rights to this information as we have.

Examination of Covered Persons
I n the event of a question or dispute regarding your right to Benefits, we may require that a Physician of
our choice examine you at our expense.



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Workers' Compensation not Affected
Benefits provided under the Policy do not substitute for and do not affect any requirements for coverage
by workers' compensation insurance.

Other Coverages
From time to time, we may request information in advance of any Premium due date of any Covered
Person as to whether he or she is covered for similar benefits by another hospital, surgical or medical
expense insurance policy or hospital or medical service subscriber contract or medical practice or other
prepayment plan, or by any other plan or program or similar benefits provided for, or available to, such
person, pursuant to, or in accordance with the requirements of any statute. In the event similar benefits
are available to or provided for the Covered Person in accordance with the requirements of any statute
and if the statute does not make coverage under this Policy primary, then coverage under this Policy shall
be secondary.

Subrogation and Reimbursement
Subrogation is the substitution of one person or entity in the place of another with reference to a lawful
claim, demand or right. Immediately upon paying or providing any Benefit, we shall be subrogated to and .
shall succeed to all rights of recovery, under any legal theory of any type for the reasonable value of any
services and Benefits we provided to you, from any or all of the following listed below.                      •
                                                                                                            .
In addition to any subrogation rights and in consideration of the coverage provided by this Policy, we shall
also have an independent right to be reimbursed by you for the reasonable value of any services and
Benefits we provide to you, from any or all of the following listed below.
•     Third parties, including any person alleged to have caused you to suffer injuries or damages.
•     Your employer.
•     Any person or entity who is or may be obligated to provide benefits or payments to you, including
      benefits or payments for underinsured or uninsured motorist protection, no-fault or traditional auto
      insurance, medical payment coverage (auto, homeowners or otherwise), workers' compensation
      coverage, other insurance carriers or third party administrators.
•     Any person or entity who is liable for payment to you on any equitable or legal liability theory.
These third parties and persons or entities are collectively referred to as "Third Parties."
If the Injury or condition giving rise to subrogation or reimbursement involves a minor child, this section
also applies to the parents or guardian of the minor child.
If the Injury or condition giving rise to subrogation or reimbursement involves the wrongful death of a
Covered Person, this section will apply to any personal representative of the Covered Person.
We agree as follows:
•     Subrogation applies only after you have received full recovery from another source.
•     Our right of subrogation is subject to subtraction for actual monies paid to account for the pro rata
      share of your costs, disbursements, reasonable attorney fees and other expenses incurred in
      obtaining the recovery from another source (unless we are separately represented by an attorney).
•     If we are separately represented by an attorney, we may enter into an agreement with you (through
      our attorneys) regarding the allocation of your costs, disbursements, reasonable attorney fees and
      other expenses. If we cannot reach agreement with you on the allocation of expenses, the matter
      will be subject to binding arbitration.
•     Nothing in this section limits our right to recovery from another source which may otherwise exist at
      law.



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•      Full recovery does not include payments made by a health plan to or for the benefit of a Covered
       Person.

Refund of Overpayments
If we pay Benefits for expenses incurred on account of a Covered Person, that Covered Person, or any
other person or organization that was paid, must make a refund to us if any of the following apply:
•      All or some of the expenses were not paid by the Covered Person or did not legally have to be paid
       by the Covered Person.
•      All or some of the payment we made exceeded the Benefits under the Policy.
•     All or some of the payment was made in error.
The refund equals the amount we paid in excess of the amount we should have paid under the Policy. If
the refund is due from another person or organization, the Covered Person agrees to help us get the
refund when requested.
If the Covered Person, or any other person or organization that was paid, does not promptly refund the
full amount, we may reduce the amount of any future Benefits for the Covered Person that are payable
under the Policy. The reductions will equal the amount of the required refund. We may have other rights
in addition to the right to reduce future benefits.

Limitation of Action
You cannot bring any legal action against us to recover reimbursement until 60 days after you have
properly submitted a request for reimbursement as described in Section 5: How to File a Claim. If you
want to bring a legal action against us you must do so within 3 years from the expiration of the time period
in which a request for reimbursement must be submitted or you lose any rights to bring such legal action
against us.
You cannot bring any legal action against us for any other reason until you have completed all the steps
in the appeal process described in Section 6: Questions, Complaints and Appeals. After completing that
process, if you want to bring a legal action against us you must do so within three years of the date we
notified you of our final decision on your appeal or you lose any rights to bring such an action against us.

Entire Policy
The Policy issued to the Subscriber, including the Schedule of Benefits, the Subscriber's application, and
any Riders and/or Amendments, constitutes the entire Policy.




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                               Section 8: Defined Terms
Alternate Facility - a health care facility that is not a Hospital and that provides one or more of the
following services on an outpatient basis, as permitted by law:
•      Surgical services.
•      Emergency Health Services.
•      Rehabilitative, laboratory, diagnostic or therapeutic services.
An Alternate Facility may also provide Mental Health Services or Substance Abuse Services on an
outpatient or inpatient basis.
Amendment - any attached written description of additional or alternative provisions to the Policy.
Amendments are effective only when signed by us. Amendments are subject to all conditions, limitations
and exclusions of the Policy, except for those that are specifically amended.
Annual Deductible - for Benefit plans that have an Annual Deductible, this is the amount of Eligible
Expenses you must pay for Covered Health Services per year before we will begin paying for Benefits.
The amount that is applied to the Annual Deductible is calculated on the basis of Eligible Expenses. The
Annual Deductible does not include any amount that exceeds Eligible Expenses. Refer to the Schedule of
Benefits to determine whether or not your Benefit plan is subject to payment of an Annual Deductible and
for details about how the Annual Deductible applies.
Benefits - your right to payment for Covered Health Services that are available under the Policy. Your
right to Benefits is subject to the terms, conditions, limitations and exclusions of this Policy, including the
Schedule of Benefits, and any attached Riders and/or Amendments.
Chiropractic Treatment -the therapeutic application of chiropractic manipulative treatment with or
without ancillary physiologic treatment and/or rehabilitative methods rendered to restore/improve motion,
reduce pain and improve function in the management of an identifiable neuromusculoskeletal condition.
Coinsurance - the charge, stated as a percentage of Eligible Expenses, that you are required to pay for
certain Covered Health Services.
Community Mental Health Center/Mental Health Clinic - a facility whose primary function is the
diagnosis, treatment, and/or rehabilitation of persons with mental or nervous disorders which meets one
of the following requirements:
•     If the services of the facility are mandated by law, the facility is licensed or approved by the
      appropriate authority.
•     If the services of the facility are not mandated by law, the facility meets all of the following
      requirements:
      •      It is established and operated in accordance with any applicable laws.
      •      It is an organization with its own governing body, administration and medical staff.
      •      The medical responsibility for patients rests with a Physician.
Congenital Anomaly - a physical developmental defect that is present at the time of birth, and that is
identified within the first twelve months of birth.
Cosmetic Procedures - procedures or services that change or improve appearance without significantly
improving physiological function, as determined by us. However, in no event, will treatment of port-wine
stains be considered a cosmetic procedure.
Covered Health Service(s)- those health services, including services, supplies, or Pharmaceutical
Products, which we determine to be all of the following:
•     Provided for the purpose of preventing, diagnosing or treating a Sickness, Injury, Mental Illness
      substance abuse, or their symptoms.


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•      Consistent with nationally recognized scientific evidence as available, and prevailing medical
       standards and clinical guidelines as described below.
•      Not provided for the convenience of the Covered Person, Physician, facility or any other person.
       Described in this Policy under Section 1: Covered Health Services and in the Schedule of Benefits.
       Not otherwise excluded in this Policy under Section 2: Exclusions and Limitations.
In applying the above definition, "scientific evidence" and "prevailing medical standards" shall have the
following meanings:
•     "Scientific evidence" means the results of controlled clinical trials or other studies published in
      peer-reviewed, medical literature generally recognized by the relevant medical specialty
      community.
•      "Prevailing medical standards and clinical guidelines" means nationally recognized professional
        standards of care including, but not limited to, national consensus statements, nationally
        recognized clinical guidelines, and national specialty society guidelines.
We maintain clinical protocols that describe the scientific evidence, prevailing medical standards and
clinical guidelines supporting our determinations regarding specific services. These clinical protocols(as
revised from time to time), are available to Covered Persons on www.myuhc.com or by calling Customer
Care at the telephone number on your ID card, and to Physicians and other health care professionals on
UnitedHealthcareOnline.
Covered Person - either the Subscriber or an Enrolled Dependent, but this term applies only while the
person is enrolled under the Policy. References to "you" and "your" throughout this Policy are references
to a Covered Person.
Custodial Care - services that are any of the following:
•     Non-health-related services, such as assistance in activities of daily living (examples include
      feeding, dressing, bathing, transferring and ambulating).
•     Health-related services which do not seek to cure, or which are provided during periods when the
      medical condition of the patient who requires the service is not changing.
•     Services that do not require continued administration by trained medical personnel in order to be
      delivered safely and effectively.
Dependent - the Subscriber's legal spouse, domestic partner or an unmarried dependent child of the
Subscriber or the Subscriber's spouse who was previously covered under a group policy issued by United
HealthCare Insurance Company from which you converted.
The term child also includes the following when the event occurs after the effective date of this Policy,
subject to the requirements as described under Adding New Dependents in Section 3: When Coverage
Begins and Premiums:
•     A newborn child.
•     A child place for adoption.
•     A legally adopted child.
•     A grandchild of the Subscriber or the Subscriber's covered spouse if the grandchild is financially
      dependent upon and resides with that covered grandparent continuously from birth.
•     A child for whom the Subscriber or the Subscriber's covered spouse has been appointed legal
      guardian
•     Any other person whom state or federal law requires to be treated as a dependent.
To be eligible for coverage under the Policy, a Dependent must reside within the United States.



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 The definition of Dependent is subject to the following conditions and limitations:
•      A Dependent includes an unmarried dependent child who is less than 25 years of age.
•      A Dependent includes an unmarried dependent child of any age who is or becomes handicapped
       and dependent upon the Subscriber. For purposes of this definition, a handicapped dependent is a
       person who is and continues to be both:
       •      Incapable of self-sustaining employment by reason of developmental disability, mental
              illness or disorder, or physical disability.
      •       Chiefly dependent upon the Subscriber for support and maintenance.
The Subscriber must reimburse us for any Benefits that we pay for a child at a time when the child did not
satisfy these conditions.
A Dependent also includes a child for whom health care coverage is required through a Qualified Medical
Child Support Order or other court or administrative order.
A Dependent does not include anyone who is also enrolled as a Subscriber. No one can be a Dependent
of more than one Subscriber.
Designated Facility - a facility that has entered into an agreement with us, or with an organization
contracting on our behalf, to render Covered Health Services for the treatment of specified diseases or
conditions. A Designated Facility may or may not be located within your geographic area.
Designated Physician - a Physician that we've identified through our designation programs as a
Designated provider. A Designated Physician may or may not be located within your geographic area.
Durable Medical Equipment - medical equipment that is all of the following:
•     Can withstand repeated use.
•     Is not disposable.
•     Is used to serve a medical purpose with respect to treatment of a Sickness, Injury or their
      symptoms.
•     Is generally not useful to a person in the absence of a Sickness, Injury or their symptoms.
•     Is appropriate for use, and is primarily used, within the home.
•     Is not implantable within the body.
Eligible Expenses - for Covered Health Services, incurred while the Policy is in effect, Eligible Expenses
are determined by us as stated below and as detailed in the Schedule of Benefits.
Eligible Expenses are determined solely in accordance with our reimbursement policy guidelines. We
develop our reimbursement policy guidelines, in our discretion, following evaluation and validation of all
provider billings in accordance with one or more of the following methodologies:
•     As indicated in the most recent edition of the Current Procedural Terminology(CPT), a publication
      of the American Medical Association, and/or the Centers for Medicare and Medicaid Services
     (CMS).
•     As reported by generally recognized professionals or publications.
•     As used for Medicare.
•     As determined by medical staff and outside medical consultants pursuant to other appropriate
      source or determination that we accept.
Eligible Person - a person who meets one of the eligibility requirements specified below. An Eligible
Person must reside within the United States. All references to a "subscriber","dependent", and "enrolled
dependent" below are references to a subscriber and/or dependent under the group policy issued by
United HealthCare Insurance Company from which you converted.


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•      A subscriber who has been covered under a group policy immediately prior to termination of
       coverage under that policy.
•      The dependent of a subscriber who has become ineligible to continue as an enrolled dependent
       because of the divorce of the former subscriber.
       The dependent of a deceased subscriber. The dependent must have been an enrolled dependent
       under the group policy immediately prior to the subscriber's death.
•     The dependent of a subscriber who has become ineligible to continue as an enrolled dependent
       because of attaining the limiting age. The dependent must have been covered as an enrolled
      dependent under the group policy immediately prior to the dependent's date of ineligibility.
An Eligible Person does not include anyone who is:
•     Eligible for or covered by federal Medicare coverage.
•     Covered under another individual policy providing similar benefits or covered for similar benefits
      under any arrangement of coverage for individuals in a group, whether insured or uninsured.
•     Covered for similar benefits by another hospital, surgical, medical or major medical expense
      insurance policy, hospital or medical service subscriber contract, medical practice or other
      prepayment plan, or by another plan or program;
•     Covered by or has similar benefits available by reason of state or federal law.
Emergency - a serious medical condition or symptom resulting from Injury, Sickness or Mental Illness
which is both of the following:
•     Arises suddenly.
•     In the judgment of a reasonable person, requires immediate care and treatment, generally received
      within 24 hours of onset, to avoid jeopardy to life or health.
Emergency Health Services - health care services and supplies necessary for the treatment of an
Emergency.
Enrolled Dependent - a Dependent who is properly enrolled under the Policy.
Experimental or Investigational Service(s)- medical, surgical, diagnostic, psychiatric, substance abuse
or other health care services, technologies, supplies, treatments, procedures, drug therapies, medications
or devices that, at the time we make a determination regarding coverage in a particular case, are
determined to be any of the following:
•     Not approved by the U.S. Food and Drug Administration(FDA)to be lawfully marketed for the
      proposed use and not identified in the American Hospital Formulary Service or the United States
      Pharmacopoeia Dispensing Information as appropriate for the proposed use.
•     Subject to review and approval by any institutional review board for the proposed use.(Devices
      which are FDA approved under the Humanitarian Use Device exemption are not considered to be
      Experimental or Investigational.)
•     The subject of an ongoing clinical trial that meets the definition of a Phase 1, 2 or 3 clinical trial set
      forth in the FDA regulations, regardless of whether the trial is actually subject to FDA oversight.
Exceptions:
•     Life-Threatening Sickness or Condition. If you have a life-threatening Sickness or condition (one
      that is likely to cause death within one year of the request for treatment) we may, in our discretion,
      consider an otherwise Experimental or Investigational Service to be a Covered Health Service for
      that Sickness or condition. Prior to such a consideration, we must first establish that there is
      sufficient evidence to conclude that, albeit unproven, the service has significant potential as an
      effective treatment for that Sickness or condition, and that the service would be provided under
      standards equivalent to those defined by the National Institutes of Health.


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•      Drugs for the treatment of cancer if the drug is recognized for treatment of cancer in:
       •      One of the following standard reference compendia:
             •       The United States Pharmacopeia Drug Information;
             •      The American Hospital Formulary Service Drug Information; or
       •      One article found in a major peer reviewed medical journal that has recognized the
                                                                                                   drug or
              combination of drugs safety and effectiveness for treatment of the indication for
                                                                                                which it has
              been prescribed.
        However, benefits will not be provided when the FDA has determined a drug's use to be
        contraindicated, or when the drug is not approved for any indication by the FDA.
Home Health Agency - a program or organization authorized by law to provide health care services in
the home.
Hospital - an institution that is operated as required by law and that meets both of the following:
•     It is primarily engaged in providing health services, on an inpatient basis, for the acute care and
      treatment of injured or sick individuals. Care is provided through medical, diagnostic and surgical
      facilities, by or under the supervision of a staff of Physicians.
•     It has 24-hour nursing services.
A Hospital is not primarily a place for rest, Custodial Care or care of the aged and is not a nursing home,
convalescent home or similar institution.
Injury - bodily damage other than Sickness, including all related conditions and recurrent symptoms.
Inpatient Rehabilitation Facility - a Hospital (or a special unit of a Hospital that is designated as an
Inpatient Rehabilitation Facility) that provides rehabilitation health services (physical therapy,
occupational therapy and/or speech therapy)on an inpatient basis, as authorized by law.
Inpatient Stay - an uninterrupted confinement that follows formal admission to a Hospital, Skilled Nursing
Facility or Inpatient Rehabilitation Facility.
Intermediate Care - Mental Health/Substance Abuse treatment that encompasses the following:
•     Care at a partial hospital/day treatment program, which is a freestanding or Hospital-based
      program that provides services for at least 20 hours per week.
•     Care through an intensive outpatient program, which is a freestanding or Hospital-based program
      that provides services for at least nine hours per week. This encompasses half-day (i.e. less than
      four hours per day) partial Hospital programs.
Intermittent Care - skilled nursing care that is provided or needed either:
•     Fewer than seven days each week; or
•     Fewer than eight hours each day for periods of 21 days or less.
Exceptions may be made in exceptional circumstances when the need for additional care is finite and
predictable.
Maximum Policy Benefit - The maximum amount that we will pay for Benefits during the entire period of
time that you are enrolled under this Policy. Refer to the Schedule of Benefits for details about how the
Maximum Policy Benefit applies.
Medicare - Parts A, B, C and D of the insurance program established by Title XVIII, United States Social
Security Act, as amended by 42 U.S.C. Sections 1394, et seq. and as later amended.
Mental Health Services - Covered Health Services for the diagnosis and treatment of Mental Illnesses.
The fact that a condition is listed in the current Diagnostic and Statistical Manual of the American
Psychiatric Association does not mean that treatment for the condition is a Covered Health Service.



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 Mental Health/Substance Abuse Designee - the organization or individual, designated by us, that may
 provide or assist with arrangements for Mental Health Services and Substance Abuse Services for which
 Benefits are available under the Policy.
Mental Illness - those mental health or psychiatric diagnostic categories that are listed in the current
Diagnostic and Statistical Manual of the American Psychiatric Association, unless those services are
specifically excluded under the Policy.
Network - when used to describe a provider of health care services, this means a provider that has a
participation agreement in effect (either directly or indirectly) with us or with our affiliate to participate in
our Network; however, this does not include those providers who have agreed to discount their charges
for Covered Health Services by way of their participation in the Shared Savings Program. Our affiliates
are those entities affiliated with us through common ownership or control with us or with our ultimate
corporate parent, including direct and indirect subsidiaries.
A provider may enter into an agreement to provide only certain Covered Health Services, but not all
Covered Health Services, or to be a Network provider for only some of our products. In this case, the
provider will be a Network provider for the Covered Health Services and products included in the
participation agreement, and a non-Network provider for other Covered Health Services and products.
The participation status of providers will change from time to time.
Out-of-Pocket Maximum - for Benefit plans that have an Out-of-Pocket Maximum, this is the maximum
amount you pay every year. Refer to the Schedule of Benefits to determine whether or not your Benefit
plan is subject to an Out-of-Pocket Maximum and for details about how the Out-of-Pocket Maximum
applies.
Pharmaceutical Product(s)- FDA-approved prescription pharmaceutical products administered in
connection with a Covered Health Service by a Physician or other health care provider within the scope of
the provider's license, and not otherwise excluded under the Policy.
Physician - any Doctor of Medicine or Doctor of Osteopathy who is properly licensed and qualified by
law.
Please Note: Any podiatrist, dentist, psychologist, chiropractor, optometrist, or other provider who acts
within the scope of his or her license will be considered on the same basis as a Physician. The fact that
we describe a provider as a Physician does not mean that Benefits for services from that provider are
available to you under the Policy.
Policy - the entire agreement issued to the Subscriber that includes all of the following:
•     This Policy.
•     The Schedule of Benefits.
•     The Subscriber's application.
•     Riders.
•     Amendments.
These documents make up the entire agreement that is issued to the Subscriber.
Pregnancy - includes all of the following:
•     Prenatal care.
•     Postnatal care.
•     Childbirth.
•     Any complications associated with Pregnancy.
Pre-implantation Genetic Diagnosis(PGD)- a screening test typically performed in conjunction with in
vitro fertilization (IVF) in which one or two cells are removed from an embryo to be screened for genetic
abnormalities.


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 Premium - the periodic fee required for each Subscriber and each Enrolled Dependent, in
                                                                                         accordance
 with the terms of this Policy.
 Rider - any attached written description of additional Covered Health Services not
                                                                                      described in this
 Policy. Covered Health Services provided by a Rider may be subject to payment of additional
 Riders are effective only when signed by us and are subject to all conditions, limitations and Premiums.
                                                                                               exclusions of
 this Policy except for those that are specifically amended in the Rider.
 Semi-private Room - a room with two or more beds. When an Inpatient Stay in a Semi-private Room is a
 Covered Health Service, the difference in cost between a Semi-private Room and a private room is a
 Benefit only when a private room is necessary in terms of generally accepted medical practice, or when a
 Semi-private Room is not available.
 Shared Savings is bracketed for possible name change.
Shared Savings Program - the Shared Savings Program provides access to discounts from the
 provider's charges when services are rendered by those non-Network providers that participate in that
 program. We will use the Shared Savings Program to pay claims when doing so will lower Eligible
Expenses. We do not credential the Shared Savings Program providers and the Shared Savings Program
providers are not Network providers. Accordingly, in Benefit plans that have both Network and Non-
Network levels of Benefits, Benefits for Covered Health Services provided by Shared Savings Program
providers will be paid at the Non-Network Benefit level(except in situations when Benefits for Covered
Health Services provided by non-Network providers are payable at Network Benefit levels, as in the case
of Emergency Health Services). When we use the Shared Saving Program to pay a claim, patient
responsibility is limited to Coinsurance calculated on the contracted rate paid to the provider, in addition
to any required Annual Deductible.
Sickness - physical illness, disease or Pregnancy. The term Sickness as used in this Policy does not
include Mental Illness or substance abuse, regardless of the cause or origin of the Mental Illness or
substance abuse.
Skilled Nursing Facility - a Hospital or nursing facility that is licensed and operated as required by law.
Subscriber - an Eligible Person who is properly enrolled under this Policy. The Subscriber is the person
(who is not a Dependent)to whom this Policy is issued.
Substance Abuse Services - Covered Health Services for the diagnosis and treatment of alcoholism
and substance abuse disorders that are listed in the current Diagnostic and Statistical Manual of the
American Psychiatric Association, unless those services are specifically excluded. The fact that a disorder
is listed in the Diagnostic and Statistical Manual of the American Psychiatric Association does not mean
that treatment of the disorder is a Covered Health Service.
Transitional Care - Mental Health/Substance Abuse Services that are provided through transitional living
facilities, group homes and supervised apartments that provide 24-hour supervision that are either:
•      Sober living arrangements such as drug-free housing, alcohol/drug halfway houses. These are
       transitional, supervised living arrangements that provide stable and safe housing, an alcohol/drug-
       free environment and support for recovery. A sober living arrangement may be utilized as an
       adjunct to ambulatory treatment when treatment doesn't offer the intensity and structure needed to
       assist the Covered Person with recovery.
      Supervised living arrangements which are residences such as transitional living facilities, group
      homes and supervised apartments that provide members with stable and safe housing and the
      opportunity to learn how to manage their activities of daily living. Supervised living arrangements
      may be utilized as an adjunct to ambulatory treatment when treatment doesn't offer the intensity
      and structure needed to assist the Covered Person with recovery.
Unproven Service(s)- services, including medications, that are determined not to be effective for
treatment of the medical condition and/or not to have a beneficial effect on health outcomes due to
Insufficient and inadequate clinical evidence from well-conducted randomized controlled trials or cohort
studies in the prevailing published peer-reviewed medical literature.



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 •     Well-conducted randomized controlled trials.(Two or more treatments are compared to each other,
       and the patient is not allowed to choose which treatment is received.)
 •     Well-conducted cohort studies.(Patients who receive study treatment are compared to a group of
       patients who receive standard therapy. The comparison group must be nearly identical to the study
       treatment group.)
 We have a process by which we compile and review clinical evidence with respect to certain health
 services. From time to time, we issue medical and drug policies that describe the clinical evidence
 available with respect to specific health care services. These medical and drug policies are subject to
 change without prior notice. You can view these policies at www.myuhc.com.
 Please note:
 •     If you have a life-threatening Sickness or condition (one that is likely to cause death within one year
       of the request for treatment) we may, in our discretion, consider an otherwise Unproven Service to
       be a Covered Health Service for that Sickness or condition. Prior to such a consideration, we must
       first establish that there is sufficient evidence to conclude that, albeit unproven, the service has
       significant potential as an effective treatment for that Sickness or condition, and that the service
       would be provided under standards equivalent to those defined by the National Institutes of Health.
 •     We may, in our discretion, consider an otherwise Unproven Service to be a Covered Health
       Service for a Covered Person with a Sickness or Injury that is not life-threatening. For that to occur,
       all of the following conditions must be met:
       •      If the service is one that requires review by the U.S. Food and Drug Administration (FDA), it
              must be FDA-approved.
             It must be performed by a Physician and in a facility with demonstrated experience and
             expertise.
      •      The Covered Person must consent to the procedure acknowledging that we do not believe
             that sufficient clinical evidence has been published in peer-reviewed medical literature to
             conclude that the service is safe and/or effective.
      •      At least two studies must be available in published peer-reviewed medical literature that
             would allow us to conclude that the service is promising but unproven.
The decision about whether such a service can be deemed a Covered Health Service is solely at our
discretion. Other apparently similar promising but unproven services may not qualify.
Urgent Care Center - a facility that provides Covered Health Services that are required to prevent
serious deterioration of your health, and that are required as a result of an unforeseen Sickness, Injury, or
the onset of acute or severe symptoms.




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                                                           UnitedHealthcare
                                                            Conversion Customer Service Unit
                                                            PO Box 221709
                                                            Louisville, KY 40252




December 20,2012


STEPHEN VENABLE
1 L)16 SUMMIT AVENUE
ST PAUL, MN 55105


RE:    United HealthCare Insurance Company
       Minnesota Conversion Policies


Dear STEPHEN:

Enclosed please find a copy of your Certificate of Coverage for your Individual
Conversion policy.

As per your Certificate, your deductible and maximum out of pocket are to be calculated
on a calendar year basis. Our system has been updated to reflect this and beginning
January 1, 2013, all claims will be processed on a calendar year basis. Your benefits will
remain the same.

Please contact UnitedHealthcare Conversion Unit Customer Service at 1-800-641-4146.
option 3 if you have any questions.


Thank you,



Individual Conversion Unit

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                           UnitedHealthcare Indemnity
                United HealthCare Insurance Company
                          Schedule of Benefits-Plan 3
Accessing Benefits
Benefits are payable for Covered Health Services that are provided by or under the direction of a
Physician or other provider.
You must show your identification card (ID card)every time you request health care services from a
provider. If you do not show your ID card, providers have no way of knowing that you are enrolled under a
UnitedHealthcare Policy.
Depending on the geographic area and the service you receive, you may have access through our
Shared Savings Program to non-Network providers who have agreed to discount their charges for
Covered Health Services. If you receive Covered Health Services from these providers, the Coinsurance
will remain the same as it is when you receive Covered Health Services from non-Network providers who
have not agreed to discount their charges; however,the total that you owe may be less when you receive
Covered Health Services from Shared Savings Program providers than from other non-Network providers
because the Eligible Expense may be a lesser amount.
If there is a conflict between this Schedule of Benefits and any summaries provided to you, this Schedule
of Benefits will control.
Additional Information about providers and how your Benefits may be affected appears at the end
of this Schedule of Benefits.
As we determine, if one or more alternative health services that meets the definition of a Covered Health
Service in the Policy under Section 8: Defined Terms are clinically appropriate and equally effective for
prevention, diagnosis or treatment of a Sickness, Injury, Mental Illness, substance abuse or their
symptoms, we reserve the right to adjust Eligible Expenses for identified Covered Health Services based
on defined clinical protocols. Defined clinical protocols shall be based upon nationally recognized
scientific evidence and prevailing medical standards and analysis of cost-effectiveness. After you contact
us for pre-service Benefit confirmation, we will identify the Benefit level available to you.
The process and procedures used to define clinical protocols and cost-effectiveness of a health service
and a listing of services subject to these provisions(as revised from time to time), are available to
Covered Persons on www.myuhc.com or by calling Customer Care at the telephone number on your ID
card, and to Physicians and other health care professionals on UnitedHealthcareOnline.
For all other services we urge you to confirm with us that the services you plan to receive are Covered
Health Services. That's because in some instances, certain procedures may not meet the definition of a
Covered Health Service and therefore are excluded. In other instances, the same procedure may meet
the definition of Covered Health Services. By calling before you receive treatment, you can check to see if
the service is subject to limitations or exclusions.
If you request a coverage determination at the time notice is provided, the determination will be made
based on the services you report you will be receiving. If the reported services differ from those actually
received, our final coverage determination will be modified to account for those differences, and we will
only pay Benefits based on the services actually delivered to you.




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Mental Health and Substance Abuse Services
You may contact the Mental Health/Substance Abuse Designee for assistance before you receive Mental
Health Services and Substance Abuse Services. You can contact the Mental Health /Substance Abuse
Designee at the telephone number on your ID card.

Benefits
Annual Deductibles, if applicable, are calculated on a calendar year basis.
Out-of-Pocket Maximums, if applicable, are calculated on a calendar year basis.
Benefit limits are calculated on a calendar year basis unless otherwise specifically stated.
Payment Term And Description                                         Amounts
Annual Deductible
The amount of Eligible Expenses you pay for Covered Health           $100 per Covered Person.
Services.per year before you are eligible to receive Benefits.
Amounts paid toward the Annual Deductible for Covered
Health Services that are subject to a visit or day limit will also
be calculated against that maximum Benefit limit. As a result,
the limited Benefit will be reduced by the number of days/visits
used toward meeting the Annual Deductible.
The amount that is applied to the Annual Deductible is
calculated on the basis of Eligible Expenses. The Annual
Deductible does not include any amount that exceeds Eligible
Expenses. Details about the way in which Eligible Expenses
are determined appear at the end of the Schedule of Benefits
table.




Out-of-Pocket Maximum
The maximum you pay per year for the Annual Deductible and           $3,000 per Covered Person.
Coinsurance. Once you reach the Out-of-Pocket Maximum,
Benefits are payable at 100% of Eligible Expenses during the         The Out-of-Pocket Maximum includes
rest of that year.                                                   the Annual Deductible.


Maximum Policy Benefit




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The maximum amount we will pay for Benefits during the entire $1,000,000 per Covered Person.
period of time you are enrolled under the Policy.



                                                                             .,


                                                                             ,




Coinsurance
Coinsurance is the amount you pay (calculated as a percentage of Eligible Expenses)each time you
receive certain Covered Health Services.
Details about the way in which Eligible Expenses are determined appear at the end of the Schedule of
Benefits table.


Benefit Limits
This Benefit plan does not have Benefit limits in addition to those stated below within the Covered Health
Service categories in the Schedule of Benefits table.
                                          Benefit
                                         (The Amount We            Apply to the        Must You Meet
                                          Pay, based on            Out-of-Pocket       Annual
Covered Health Service                    Eligible Expenses)       Maximum?            Deductible?
1.Ambulance Services
Emergency Ambulance                       Ground Ambulance:
                                          80%                     • Yes                Yes
                                                •
                                          Air Ambulance:           Yes                 Yes
                                          80%


Non-Emergency Ambulance                   Ground Ambulance:
Ground or air ambulance, as we            80%                      Yes                 Yes
determine appropriate.

                                          Air Ambulance:
                                          80%                      Yes                 Yes


2.Diabetes Services - Diabetes Self-
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                                     Benefit
                                    (The Amount We          Apply to the        Must You Meet
                                     Pay, based on          Out-of-Pocket       Annual
Covered Health Service               Eligible Expenses)     Maximum?            Deductible?
Management and Training/Diabetic
Eye Examinations/Foot Care
                                     Depending upon where the Covered Health Service is provided,
                                     Benefits for diabetes self-management and training/diabetic eye
                                     examinations/foot care will be the same as those stated under
                                     each Covered Health Service category in this Schedule of
                                     Benefits.
3.Durable Medical Equipment
                                     80%                     Yes                Yes
4.Emergency Health Services-
Outpatient
                                     80%                     Yes                Yes
5,Home Health Care
                                     80%                    Yes                 Yes
6.Hospice Care
                                     80%                    Yes                 Yes
7.Hospital - inpatient Stay
                                     80%                     Yes                Yes


8.Infertility Services
                                     80%                  Yes                   Yes

9.Lab,X-Ray and Diagnostics -
Outpatient
                                     80%                    Yes                 Yes
10. Lab,X-Ray and Major
Diagnostics - CT,PET, MRI, MRA
and Nuclear Medicine - Outpatient
                                     80%                    Yes                 Yes
11. Obesity Surgery
                                     Depending upon where the Covered Health Service is provided,
                                     Benefits will be the same as those stated under each Covered
                                     Health Service category in this Schedule of Benefits.
12. Oral Surgery
                                     80%                    Yes                 Yes

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                                          Benefit
                                         (The Amount We           Apply to the         Must You Meet
                                          Pay, based on          'Out-of-Pocket        Annual
Covered Health Service                    Eligible Expenses)      Maximum?             Deductible?
13. Ostomy Supplies
                                          80%                     Yes                 Yes

14. Outpatient Prescription Drugs
                                          80%                     Yes                 Yes

15. Physician Fees for Surgical and
Medical Services
                                          80% •                   Yes                  Yes
                                                                                         .
16.Physician's Office Services -
Sickness and Injury
                                          80%                     Yes                  Yes
17. Pregnancy - Maternity Services .
                                          Prenatal Care Services
                                          100%
                                          All Other Maternity Services
                                          Benefits will be the same as those stated under each Covered
                                          Health Service category in this Schedule of Benefits except that
                                          an Annual Deductible, if applicable, will not apply for a newborn
                                          child whose length of stay in the Hospital is the same as the
                                          mothers length of stay.
18.Preventive Care Services
Physician office services:                80%                     Yes                  Yes
Child health supervision services from                                      •
birth to age 6 and immunization for
children age 6-18 are not subject to
any deductible or coinsurance.
Lab,X-ray or other preventive tests:      80%                     Yes                  Yes


19. Prosthetic Devices
                                          80%                     Yes                  Yes


20. Reconstructive Procedures
                                          Depending upon where the Covered Health Service is provided.
                                          Benefits will be the same as those stated under each Covered
                                          Health Service category in this Schedule of Benefits.

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                                          Benefit
                                         (The Amount We           Apply to the         Must You Meet
                                          Pay, based on           Out-of-Pocket        Annual
Covered Health Service                    Eligible Expenses)      Maximum?             Deductible?
21. Rehabilitation Services -
Outpatient Therapy and Chiropractic
Treatment
                                          80%                     Yes                  Yes
22. Scopic Procedures - Outpatient
Diagnostic and Therapeutic
                                          80%                     Yes                  Yes
23. Skilled Nursing Facility/Inpatient
Rehabilitation Facility Services


Limited to 120 days per year.             80%                     Yes                  Yes


24.Surgery - Outpatient
                                          80%                     Yes                  Yes
                                                             •

25.Therapeutic Treatments -
Outpatient
                                          80%                     Yes                  Yes
26.Transplantation Services
                                          80%                     Yes                  Yes


27. Urgent Care Center Services
                                          80%                     Yes                  Yes



Additional Benefits Required By Minnesota Law
28. Cleft Lip and Cleft Palate
Services
                                          Depending upon where the Covered Health Service is provided,
                                          Benefits will be the same as those stated under each Covered
                                          Health Service category in this Schedule of Benefits.
29. Dental Anesthesia
                                          Depending upon where the Covered Service is provided, any
                                          applicable notification requirements will be the same as those
SBN.CONV.MI.I.08.MN                                [6]


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                                          Benefit
                                         (The Amount We           Apply to the         Must You Meet
                                          Pay, based on           Out-of-Pocket        Annual
Covered Health Service                    Eligible Expenses)      Maximum?             Deductible?
                                          stated under each Covered Health Service category in this
                                          Schedule of Benefits.
30. Diabetes Services - Diabetic Self-
Management Items

                                          Depending upon where the Covered Health Service is provided,
                                          Benefits for diabetes self-management items will be the same
                                          as those stated under Durable Medical Equipment or the
                                          Outpatient Prescription Drug Benefit.
                                                                                                   .
                      •

31. Hearing Aids For Children
Limited to one hearing aid in each ear    80%                     Yes                  Yes
every 3 years.
32. Lyme Disease
                                          Depending upon where the Covered Health Service is provided,
                                          Benefits will be the same as those stated under each Covered
                                          Health Service category in this Schedule of Benefits.
33. Mental Health Services -
Inpatient and Intermediate
                                           Depending upon where the Covered Health Service is
                                          provided, Benefits will be the same as those stated under each
                                          Covered Health Service category in this Schedule of Benefits.
34. Mental Health Services -
Outpatient
                                          Depending upon where the Covered Health Service is provided,
                                          Benefits will be the same as thoe stated Under each Covered
                                          Health Service category in this Schedule of Benefits.
36.Phenylketonurla Treatment
                                          80%                   Yes                   Yes

36. Port-Wine Stain Treatment
                                         80%                            Yes           Yes
37. Scalp Hair Treatment
Limited to $350 per year.                80%                    Yes                   Yes
38. Substance Abuse Services -
Hospital, Residential and Outpatient
                                          Inpatient treatment: Benefits will be the same as those stated

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                                                                                             EXHIBIT B
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                                           Benefit
                                          (The Amount We             Apply to the          Must You Meet
                                           Pay, based on             Out-of-Pocket         Annual
Covered Health Service                     Eligible Expenses)        Maximum?              Deductible?
                                            under Hospital-Inpatient Stay in this Schedule of Benefits.
                                            Outpatient treatment: Benefits will be the same as those stated
                                            under Physician's Office Services in this Schedule of Benefits.
39. Temporomandibular Joint
Services
                                            Depending upon where the Covered Health Service is provided,
                                            Benefits will be the same as those stated under each Covered
                                            Health Service category in this Schedule of Benefits.


Eligible Expenses
Eligible Expenses are the amount we determine that we will pay for Benefits. You are responsible for
paying, directly to the provider, any difference between the amount the provider bills you and the amount
we will pay for Eligible Expenses. Eligible Expenses are determined solely in accordance with our
reimbursement policy guidelines, as described in the Policy.
If one or more alternative health services that meets the definition of Covered Health Service in the Policy
under Section 8: Defined Terms are clinically appropriate and equally effective for prevention, diagnosis
or treatment of a Sickness, Injury, Mental Illness, substance abuse or their symptoms, we reserve the
right to adjust Eligible Expenses for identified Covered Health Services based on defined clinical
protocols. Defined clinical protocols shall be based upon nationally recognized scientific evidence and
prevailing medical standards and analysis of cost-effectiveness.
Eligible Expenses are determined, based on the lesser of:
      •      For Covered Health Services other than Pharmaceutical Products, Eligible Expenses are
             determined based on available data resources of competitive fees in that geographic area.
      •      When Covered Health Services are Pharmaceutical Products, Eligible Expenses are
             determined based on 110% of the amount that the Centers for Medicare and Medicaid
             Services(CMS)would have paid under the Medicare program for the drug determined by
             either of the following:
             •      Reference to available CMS schedules.
             •      Methods similar to those used by CMS.
      •      Fee(s)that are negotiated with the provider.
      •      50% of the billed charge.
      •      A fee schedule that we develop.

Designated Facilities and Other Providers
If you have a medical condition that we believe needs special services, we may direct you to a
Designated Facility or Designated Physician chosen by us. If you require certain complex Covered Health
Services for which expertise is limited, we may direct you to a facility or provider that is outside your local
geographic area. If you are required to travel to obtain such Covered Health Services from a Designated
Facility or Designated Physician, we may reimburse certain travel expenses at our discretion.



SBN.CONV.M1.I.08.MN                                   [8]


                                                                                                EXHIBIT B
